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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 In re EFFEXOR XR ANTITRUST                 DECLARATION OF JAMES E.
 LITIGATION                                 CECCHI IN SUPPORT OF
                                            UNOPPOSED MOTION FOR
 This Document Relates To:                  PRELIMINARY APPROVAL OF
 All Indirect Purchaser Class Actions       CLASS-ACTION SETTLEMENT

                                            Civil Action No. 3:11-05661
                                            (ZNQ/JBD)

                                            Master Docket No. 3:11-cv-05479
                                            (ZNQ/JBD)

      JAMES E. CECCHI, of full age, hereby declares as follows:

      1.     I am an attorney licensed to practice in New Jersey and am a member

of Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C. I am fully familiar with

the facts contained herein, and I submit this Declaration in support of the Indirect

Purchaser Plaintiffs’ Unopposed Motion for Preliminary Approval of the Class-

Action Settlement with Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical

Industries Ltd. (collectively, “Teva”).

      2.     A true and correct copy of the Settlement Agreement is annexed as

Exhibit A.

      Procedural History and Facts

      3.     After the Judicial Panel on Multidistrict Litigation centralized and

transferred to this Court various actions alleging similar anticompetitive schemes to
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delay market entry of generic Effexor XR, the Court consolidated such indirect

purchaser class actions for all purposes, including trial. ECF No. 18.1 The Court also

appointed interim Lead Counsel for the indirect purchasers. ECF No. 33. Interim

Lead Counsel have been intimately involved in every aspect of the litigation since

its inception.

        4.    The Indirect Purchaser Plaintiffs filed a Consolidated Class Action

Complaint (“CAC”) against Wyeth (a/k/a Wyeth LLC, f/k/a Wyeth, Inc., f/k/a

American Home Products), Wyeth Pharmaceuticals, Inc., Wyeth-Whitehall

Pharmaceuticals, and Wyeth Pharmaceuticals Company (collectively, “Wyeth”) and

Teva on January 9, 2012. ECF No. 37. The CAC alleged that, although Wyeth’s

marketing exclusivity for the original compound patent for Effexor XR lapsed on

June 13, 2008, the first generic equivalent was foreclosed from entering the market

for two more years, until June 2010, and other generics remained foreclosed until

June 2011. Id. As alleged in the CAC, Teva and Wyeth engaged in a multifaceted

anticompetitive scheme designed to prevent and/or delay the approval and marketing

of generic versions of Effexor XR. See id. The CAC alleges that (i) Wyeth

fraudulently procured three patents for extended-release formulations of venlafaxine

hydrochloride, wrongfully listed those patents in the United States Food and Drug


1
 Unless otherwise indicated below, “ECF” citations are to Man-U-Service Contract
Trust Fund v. Wyeth, No. 3:11-cv-05661 (D.N.J.), the lead docket for the Indirect
Purchaser Class Actions.

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Administration Orange Book, and engaged in serial sham litigation to prevent and/or

delay multiple generic companies from timely entering the market for less expensive

versions of extended-release venlafaxine hydrochloride capsules; (ii) that Wyeth and

generic-manufacturer Teva entered into a horizontal market-allocation and price-

fixing agreement; and (iii) that Wyeth negotiated settlement agreements with

subsequent generic applicants to preserve and protect its monopoly and market-

division agreement with first-filer Teva. See id.

       5.    The Indirect Purchaser Plaintiffs brought claims for violations of

numerous state antitrust and consumer protection laws and for unjust enrichment

under state law. See id. ¶¶ 407-62; 472-82. They also sought declaratory and

injunctive relief for Defendants’ violation of Sections 1 and 2 of the Sherman Act.

Id. ¶¶ 463-71.

       6.    Defendants moved to dismiss the CAC on April 6, 2012. See ECF Nos.

75, 77.

       7.    On September 10, 2012, Defendants moved for a stay pending the

resolution of In re K-Dur Antitrust Litig., 686 F.3d 197 (3d Cir. 2012), cert. granted,

judgment vacated sub-nom. Upsher-Smith Labs., Inc. v. Louisiana Wholesale Drug

Co., Inc., 570 U.S. 913 (2013), which the Court ultimately granted. ECF Nos. 116,

123.




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      8.     On July 17, 2013, the Court lifted the stay after K-Dur was decided.

ECF No. 211, No. 3:11-cv-05479 (D.N.J.).

      9.     On August 8, 2013, the Court established a single master docket for all

of the previously consolidated and/or coordinated cases—Case No. 11-cv-5479

(D.N.J.). See ECF 233, No. 11-cv-5479.

      10.    On January 16, 2015, the Court granted and denied in part Defendants’

motions to dismiss. See ECF Nos. 151, 152.

      11.    On February 4, 2015, Indirect Purchaser Plaintiffs filed a notice of

appeal. ECF No. 156.

      12.    On August 21, 2017, the United States Court of Appeals for the Third

Circuit issued a decision reversing this Court’s January 5, 2015 decision granting

the motions to dismiss. See In re Lipitor Antitrust Litig., 868 F.3d 231 (3d Cir. 2017).

In relevant part, the Court of Appeals held Plaintiffs had adequately alleged that

Wyeth had entered into an unlawful, monopolistic (“reverse-payment”) settlement

agreement with would-be generic manufacturer Teva.

      13.    By Order dated October 12, 2017, this Court reinstated the previously

dismissed claims. ECF No. 161.

      14.    On January 12, 2018, the Indirect Purchaser Plaintiffs filed a Second

Amended Consolidated Class Action Complaint. ECF No. 138, No. 3:11-cv-05479

(D.N.J.). Defendants answered on February 15, 2018. ECF Nos. 470, 476, No. 3:11-



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cv-05479 (D.N.J.). Thereafter, on April 16, 2018, Defendants moved for judgment

on the pleadings pursuant to Rule 12 of the Federal Rules of Civil Procedure. ECF

No. 165.

        15.   On May 7, 2018, the Indirect Purchaser Plaintiffs filed a Third

Amended Consolidated Class Action Complaint, ECF No. 155, No. 3:11-cv-5590

(D.N.J.).2 On May 21, 2018, Defendants answered Indirect Purchaser Plaintiffs’

Third Amended Complaint. ECF No. 521, No. 3:11-cv-05479 (D.N.J.).

        16.   The Court granted in part and denied in part Defendants’ related

motions for judgment on the pleadings, on September 18, 2018 and November 11,

2018, respectively. In re Effexor Antitrust Litig., 357 F. Supp. 3d 363 (D.N.J. 2018);

In re Effexor Antitrust Litig., 337 F. Supp. 3d 435, 442 (D.N.J. 2018).

        17.   After extensive negotiation and mediation, Wyeth and the Indirect

Purchaser Plaintiffs reached a settlement for $25.5 million, which this Court

approved on September 12, 2024, ECF No. 761, No. 3:11-cv-5479 (D.N.J.)

        History of Mediation and Settlement

        16.   The Court is well familiar with the long history of Interim Lead

Counsels’ efforts to reach a mutually agreeable settlement of this matter. Suffice it

to say, settlement discussions, both directly between counsel and under the


2
  On October 18, 2018, Indirect Purchaser Plaintiffs filed a fourth amended
consolidated class action complaint, ECF No. 171, No. 3:11-cv-5590 (D.N.J.), which
was not ruled upon.

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supervision of retired Judge Faith Hochberg, continued for over four years. During

that period, counsel met in person on many occasions, conducted both telephone and

Zoom conferences, and met with Judge Hochberg—individually and collectively—

multiple times. Negotiations were at arm’s-length, vigorous, and, at times,

contentious. It is the considered view of Interim Lead Counsel that the resulting

Settlement represents a fair compromise of the claims against Teva following the

prior resolution of claims with Wyeth.

      17.     Attached as Exhibit B is a true and correct copy of the Plan of

Allocation.

      18.     Attached as Exhibit C is a true and correct copy of the Proposed Long-

Form Class Notice.

      19.     Attached as Exhibit D is a true and correct copy of the Proposed Short-

Form Class Notice.

      22.     Attached as Exhibit E is a true and correct copy of the Proposed Third-

Party Payor Claim Form.

      23.     Attached as Exhibit F is a true and correct copy of the Proposed

Consumer Claim Form.

      24.     Attached as Exhibit G is a true and correct copy of the Declaration of

Elaine Pang of A.B. Data.

      I hereby declare under penalty of perjury that the foregoing is true and correct.



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Dated: March 17, 2025



                                  /s/ James E. Cecchi
                                  JAMES E. CECCHI




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                        EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 In re Effexor XR Antitrust Litigation              Civil Action No. 3:11-cv-05661 (ZNQ)(JBD)

  THIS DOCUMENT RELATES TO:                         Master Docket No. 3:11-cv-05479 (ZNQ)(JBD)
  All Indirect Purchaser Class Actions

                                    PLAN OF ALLOCATION

       This Plan of Allocation will govern distributions from the net proceeds of the $2.25 million

settlement fund created by the March 7, 2025 Settlement Agreement in In re Effexor XR Antitrust

Litigation, Master Docket No. 3:11-cv-05479 (D.N.J.), entered into by Plaintiffs, A. F. of L. –

A.G.C. Building Trades Welfare Plan, IBEW – NECA Local 505 Health & Welfare Plan, Louisiana

Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield of Louisiana, New Mexico

United Food and Commercial Workers Union’s and Employers’ Health and Welfare Trust Fund,

Painters District Council No. 30 Health and Welfare Fund, Plumbers and Pipefitters Local 572

Health and Welfare Fund, City of Providence, Rhode Island, Sergeants Benevolent Association

Health and Welfare Fund, and Patricia Sutter (collectively, the “Plaintiffs”), on behalf of themselves

and the Indirect Purchaser Class defined in the Settlement Agreement, and Defendants Teva

Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries Ltd. (collectively, “Teva”). To

receive a distribution under this Plan of Allocation, an entity must timely submit a Claim Form

and be an Eligible Claimant. The manner in which payments will be allocated and distributed to

Eligible Claimants who submit timely Claim Forms is described below. If an individual or entity

submitting a Claim Form is not a Class Member or does not provide the required information, then

that individual or entity shall not be entitled to any distribution under this Plan of Allocation. If an

individual or entity is a Class Member and provides the requisite information, their eligibility to

participate in this Plan of Allocation and the amount of payment the Eligible Claimant shall receive
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(if any) is described below.

     I.    General Definitions1

           As used in this Plan of Allocation, the following terms shall have the indicated meanings:

           1.       “Allocation Funds” means the Third-Party Payor Fund and the Consumer Fund, as

further defined below:

                a. “Consumer Fund” shall mean twenty-two percent (22%) of the Net Settlement

                    Fund, which shall be distributed to Class Members who are individual consumers.

                b. “Third-Party Payor Fund” shall mean seventy-eight percent (78%) of the Net

                    Settlement Fund, which shall be distributed to Class Members that are third-party

                    entities, not consumers.

           2.       “Claim Form” shall mean the documents titled “Consumer Claim Form,” and

“Third-Party          Payor      Claim       Form,”       which       are     available       for     download   at

www.EffexorXRIndirectSettlement.com, or by calling 1-877-933-2882. The timeliness and

validity of a Claimant’s Claim Form are set forth in the Class Notice and shall be determined by

the Claims Administrator.

           3.       “Claims Administrator” means A.B. Data, Ltd.

           4.       “Class Member” means any individual or entity falling within the definition of the

Class certified by this Court and who/which has not opted out of the Class.

           5.       “Class Notice” mean the legal notice authorized by the Court.

           6.       “Class States” means Arizona, California, Florida, Kansas, Maine, Massachusetts,

Michigan, Minnesota, Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York,

North Carolina, Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and Wisconsin.



1
    If not otherwise defined herein, capitalized terms shall be as defined in the Settlement Agreement.
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       7.      “Eligible Claimant” means a Class Member who submits a Claim Form that is

accepted in whole or in part by the Claims Administrator. Class opt-outs are not Eligible

Claimants.

       8.      “Class Counsel” means the law firms of Carella, Byrne, Cecchi, Brody & Agnello,

P.C., Motley Rice LLC, Wexler Boley & Elgersma LLP, Quantum Legal LLC, Spector, Roseman

& Kodroff, P.C., The Dugan Law Firm, APLC, and Miller Law LLC.

       9.      “Net Settlement Fund” means the Settlement Fund Amount ($2,250,000), less

Court-approved attorneys’ fees, reimbursement of costs and expenses, taxes, and fees and costs

associated with issuing notice and claims and escrow administration in accordance with the

Settlement.

       10.     “Notice” shall mean the legal notice authorized by the Court in the Civil Action

No. 3:11-5661; Master Docket No. 3:11-cv-05479 (D.N.J.), to be disseminated to the Class of

indirect purchasers of Effexor ER and AB-rated generic versions of Effexor ER.

       11.     “Qualifying Claim” shall mean (i) for consumers, the amount paid for the

prescriptions of Effexor XR and/or AB-rated generic versions Effexor XR purchased in the Class

States during the Class Period; (ii) for TPPs, the amount paid and/or reimbursed for Effexor XR

and AB-rated generic versions of Effexor XR purchased in the Class States during the Class Period.

For retail purchases, the State of purchase is the State where the pharmacy is physically located.

If any purchases were made by mail order, the State to which the prescription was sent is

considered the place of purchase.

       12.     “Settlement” shall mean the Settlement Agreement dated March 7, 2025 and as

described in the Notice.
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 II.   Distribution Among Eligible Claimants

       13.     No Eligible Claimant shall be permitted to recover from any Allocation Fund unless

that Claimant submits a Claim Form with a Qualifying Claim for that Allocation Fund. Claimants

who opted out of the Class shall not receive any distributions pursuant to this Plan of Allocation.

       14.     Each Allocation Fund shall be distributed to Eligible Claimants in that Allocation

Fund on a pro rata basis. To determine each Eligible Claimant’s pro rata share of an Allocation

Fund, the Claims Administrator shall multiply the total value of that Allocation Fund by a fraction,

for which (a) the numerator is the Qualifying Claim for that Eligible Claimant for that Allocation

Fund, and (b) the denominator is the sum total of all Qualifying Claims by all Eligible Claimants

for that Allocation Fund.

       15.     All funds in each Allocation Fund must be exhausted if possible, subject to the

following: (a) to the extent that any money available for the Consumer Fund remains undistributed,

such funds shall be transferred to the TPP Fund and used to pay valid claims of TPPs; and (b) to

the extent that any money available for the TPP Fund remains undistributed, such funds shall be

transferred to the Consumer Fund and used to pay valid claims of consumers. In no event shall any

Eligible Claimant be allowed to collect more than an amount equal to that Eligible Claimant’s

Qualifying Claim.

       16.     Eligible Claimants shall only be paid out of each Allocation Fund for which they

submit a Qualifying Claim. Claimants are not eligible to be paid from an Allocation Fund if they

have opted out of the Class.

       17.     Eligible Claimants that are TPPs must submit transaction data supporting their

Qualifying Claims. Eligible Claimants who are consumers must submit documentation of their

purchases. Both TPPs and consumers may be required to submit additional claim documentation
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at the discretion of the Claims Administrator.

       18.     If an Eligible Claimant’s distribution amount calculates to less than $10.00, it will

not be included in the calculation and no distribution will be made to that Eligible Claimant.

       19.     Should a balance remain in the Net Settlement Fund after a reasonable amount of

time from the initial date of distribution thereof—whether by reason of tax refunds, uncashed

checks, or otherwise—the Claims Administrator shall, if feasible, and subject to Court approval,

reallocate such balance, in an equitable and economic fashion, among Eligible Claimants who

successfully received and deposited, cashed, or otherwise accepted a distribution amount.

Provided, however, that such redistributions should only be made to those Eligible Claimants who

would receive a distribution of at least $10.00. Subject to Court approval, these redistributions

shall be repeated until the balance remaining in the Net Settlement Fund is no longer economically

feasible to distribute to Eligible Claimants.

       20.     If any funds remain undistributed pursuant to the terms of this Plan of Allocation,

Class Counsel shall make an application to the Court for final disposition.

III.   Administration

       21.     All determinations under this Plan of Allocation shall be made by the Claims

Administrator, subject to review by Class Counsel and approval by the Court.

       22.     Each Class Member shall certify that any data or other information it submits to the

Claims Administrator is true, accurate, and complete to the best of its knowledge. To verify the

accuracy of claim information and to prevent duplication of claims, the Claims Administrator may

reasonably request additional information from Class Members as the Claims Administrator deems

appropriate.
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IV.    Amendments to the Plan of Allocation

       23.    This Plan of Allocation may be amended. To obtain the most up-to-date information

regarding the Plan of Allocation visit www.EffexorXRIndirectSettlement.com.
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                        EXHIBIT C
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                        UNITED STATES DISTRICT C OURT FOR THE DISTRICT OF N EW J ERSEY

Did You Purchase, Pay for, or Provide Reimbursement for Effexor XR and/or Its
                             Generic Equivalent?
                            You Could Get Money from a New Settlement
                            A federal court authorized this Notice. You are not being sued.
              Para conseguir una notificación en español, llame a 1-877-933-2882 o visite el sitio web:
                                       www.EffexorXRIndirectSettlement.com.

 •    There is a new settlement (the “Settlement”) with Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical
      Industries Ltd. (collectively, “Teva”) in a class-action lawsuit claiming that Wyeth (also known as Wyeth LLC and
      formerly known as Wyeth, Inc. and American Home Products); Wyeth Pharmaceuticals, Inc.; Wyeth-Whitehall
      Pharmaceuticals; and Wyeth Pharmaceuticals Company (collectively, “Wyeth”) and Teva unlawfully kept generic
      versions of Effexor XR off the market. Plaintiffs allege this conduct caused consumers and third-party payors to pay
      more for brand and generic Effexor XR than they should have. Wyeth and Teva deny they did anything wrong.

 •    You may have seen a previous notice about a $25.5 million settlement with Wyeth (the “Wyeth Settlement”). The
      Wyeth Settlement was approved by the Court in September 2024. Now, Teva has agreed to pay $2.25 million to
      resolve the remaining claims in this lawsuit. This Notice is about the new Settlement with Teva.

 •    Generally, you are included in the Settlement if you purchased, paid for, and/or reimbursed some or all of the cost of
      Effexor XR or AB-rated generic versions of Effexor XR in certain states from June 14, 2008 through May 31, 2011.
      The included states are: Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan, Minnesota,
      Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode Island,
      South Dakota, Tennessee, West Virginia, and Wisconsin. You may be able to get money from this Settlement.

 •    The $2.25 million Teva is paying in the Settlement will be used to pay (1) money to eligible Class Members; (2) notice
      and administration costs; (3) attorneys’ fees; and (4) costs and expenses not previously reimbursed in connection
      with the Wyeth Settlement.

 •    Your legal rights are affected even if you do nothing. Please read this Notice carefully.


            Y OUR LEGAL R IGHTS AND OPTIONS I N THIS LAWSUIT                                         D EADLINE
                  The only way to get a payment from the Settlement.

 SUBMIT A         If you already filed a claim for the Wyeth Settlement, you do not
                                                                                                 [Month 00, 2025]
  C LAIM          need to submit another claim. Your previous claim for the Wyeth
                  Settlement will also serve as your claim for this new Settlement with
                  Teva.

                  You will not be bound by the Settlement and will not receive any
EXCLUDE
                  benefits from the Settlement. You keep any rights to sue Teva on                [Month 00, 2025]
Y OURSELF         your own for the same legal claims made in this lawsuit.

                  Write to the Court about why you do not like the Settlement.
OBJECT            Whether or not you object, you must still file a claim by the                   [Month 00, 2025]
                  deadline above to receive money from the Settlement.

GO TO A            Attend a hearing to speak in Court about your opinion of the
                                                                                                  [Month 00, 2025]
HEARING            Settlement.


     QUESTIONS ? CALL T OLL -FREE 1-877-933-2882 OR VISIT WWW.E FFEXORXRI NDIRECTSETTLEMENT.COM
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                       If you did not already file a claim in connection with the Wyeth
                       Settlement and do nothing now, you will not get a payment from
 D O N OTHING
                       this Settlement. You will also give up your right to sue Teva on
                       your own for the same legal claims made in this lawsuit.


    •     These rights and options—and the deadlines to exercise them—are explained in this Notice.

    •     The Court in charge of this case still must decide whether to approve the Settlement.

    •     Payments will be made to those who qualify only after the Court approves the Settlement and any appeals are resolved.
          Please be patient.

                                                     Basic Information

        1. Why was this Notice issued?

The Court authorized this Notice because you have a right to know about a new proposed Settlement, your rights, and your
options before the Court decides whether to approve the Settlement. This Notice explains the lawsuit, the Settlement, and your
legal rights. Your legal rights are affected whether you act or not.

Judge Zahid N. Quraishi of the United States District Court for the District of New Jersey is overseeing this case. This lawsuit
is known as In re Effexor XR Antitrust Litigation, Master Docket No. 3:11-cv-05479. The people who sued are called the
“Plaintiffs.” Wyeth and Teva are the “Defendants.”

On September 12, 2024, the Court gave final approval to the $25.5 million Wyeth Settlement.

This Notice is about a new $2.25 million Settlement with Teva. If the Court approves it, the Settlement will resolve the claims
against Teva.

        2. What is this lawsuit about?

The consumers and third-party payors who brought the lawsuit (the “Plaintiffs”) claim that Wyeth took several actions to keep
generic versions of Effexor XR off the market, causing brand and generic Effexor XR prices to be higher than they otherwise
would have been. This meant that consumers and third-party payors paid more for brand Effexor XR and generic Effexor XR
than they should have.

The lawsuit says that, in order to delay generic Effexor XR from coming to the market, Wyeth fraudulently obtained three
patents covering Effexor XR and used those patents to wrongfully sue manufacturers who were applying to make, use, or sell
a generic version of Effexor XR. It claims Wyeth then settled those lawsuits by agreeing to pay the generic manufacturers if
those manufacturers agreed to delay selling their generic versions of Effexor XR.

The lawsuit also says Wyeth and generic manufacturer Teva entered into an unlawful agreement, called a horizontal market-
allocation and price-fixing agreement, in which Wyeth paid generic manufacturer Teva to delay entering the market with its
generic version of Effexor XR. Specifically, the lawsuit claims that Wyeth agreed to delay selling Wyeth’s own generic
version of Effexor XR once Teva was permitted to enter the market. This meant that Teva was allowed to sell its generic
version of Effexor XR without any generic competitors for a longer time than it normally would have and could charge
higher prices than it would have otherwise.

Plaintiffs allege that, if Wyeth and Teva did not take these actions or make this agreement, generic versions of Effexor XR
would have been available sooner. Because of the delay in generic competition, consumers and third-party payors who paid
for brand and generic Effexor XR were overcharged.

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Wyeth and Teva deny all these allegations, including that the Plaintiffs or Class Members are entitled to damages or any
other relief.

There has been no determination by the Court or a jury that the allegations against Wyeth and Teva have been proven or
that, if proven, their conduct caused harm to the Class. This Notice is not an expression of any opinion by the Court as to
the claims against Wyeth or Teva or the defenses asserted by Wyeth or Teva.

This lawsuit is not about the safety or efficacy of Effexor XR, and the Settlement does not involve any claims about the safety
or efficacy of Effexor XR.

This Notice is only a summary. More detail is                     provided in the        Settlement Agreement,       available at
www.EffexorXRIndirectSettlement.com.

     3. Why is this a class action?

In a class action, one or more people or entities called “class representatives” (in this case, A. F. of L. – A.G.C. Building Trades
Welfare Plan, IBEW - NECA Local 505 Health & Welfare Plan, Louisiana Health Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana, New Mexico United Food and Commercial Workers Union’s and Employers’ Health and
Welfare Trust Fund, Painters District Council No. 30 Health and Welfare Fund, Plumbers and Pipefitters Local 572 Health
and Welfare Fund, City of Providence, Rhode Island, Sergeants Benevolent Association Health and Welfare Fund, and Patricia
Sutter) sue on behalf of those who have similar claims. Together, all these people and entities are a “class” or “class members.”
One court and one case resolve the issues for all class members, except for those who exclude themselves from (“opt out” of)
the class.

     4. Why is there a new Settlement?

The Court previously approved the Wyeth Settlement. Now, Plaintiffs and Teva have agreed to settle Plaintiffs’ claims against
Teva. The Court has not decided in favor of the Plaintiffs or Teva. By agreeing to the Settlement, Plaintiffs and Teva avoid the
costs and uncertainty of a trial, and Class Members receive the benefits described in this Notice. The proposed Settlement does
not mean that any law was broken or that Teva did anything wrong. The parties believe the Settlement is best for all Class
Members.

                                                Who is in the Settlement?
If you received a mailed Notice, then you may be a Class Member. But even if you did not receive a mailed Notice, you may
be a Class Member, as described below.

     5. Who is included in the Settlement?

You are included in the Settlement if, you:
        Are a person or entity who purchased, paid for, and/or reimbursed some or all of the cost of Effexor XR or AB-rated
        generic versions of Effexor XR for yourself, your family, or your members, employees, insureds, participants, or
        beneficiaries, from June 14, 2008 through May 31, 2011, in the following states: Arizona, California, Florida,
        Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Montana, Nevada, New Hampshire, New
        Mexico, New York, North Carolina, Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and
        Wisconsin.

     6. Who is not included in the Settlement Class?

The Class does not include:
   • Teva and Wyeth and their subsidiaries and affiliates;



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    •     State and local governments that by state law can only make claims through the state Attorney General, or are
          prohibited by law from being represented in legal matters by private counsel on a contingent fee basis;
    •     Anyone who purchased Effexor XR or its generic equivalent for resale;
    •     Anyone who purchased Effexor XR or its generic equivalent directly from Wyeth, Teva, or their affiliates;
    •     Fully insured health plans (i.e., plans that purchased insurance from another third-party payor that covered 100% of
          the plan’s reimbursement for its members);
    •     Pharmaceutical benefit managers;
    •     The judges in this case and any members of their immediate families; and
    •     Anyone that properly excludes themselves from the Class (see Question 16).

        7. What if I am still not sure if I am included in the Settlement Class?

If you are not sure whether you are a Class Member, or have any other questions about the Settlement, visit the website,
www.EffexorXRIndirectSettlement.com, or call the toll-free number, 1-877-933-2882. You may also send questions to the
Claims Administrator at Effexor XR Indirect Purchaser Settlement, c/o A.B. Data, Ltd., P.O. Box 173005, Milwaukee, WI
53217.
                                             The Benefits of the Settlement

        8. What does this Settlement provide?

If the Settlement with Teva is approved and becomes final, it will provide money to Class Members. Teva will pay $2.25
million to settle the claims against it in this lawsuit. This Settlement would resolve all Class Members’ claims against Teva.

This Settlement amount will be used to pay:
    • Payments to eligible Class Members;
    • Attorneys’ fees of up to 34% of the Settlement amount;
    • Costs and expenses that were not previously reimbursed in connection with the Wyeth Settlement; and
    • Notice and administration costs and expenses.

The Court already approved a settlement with Wyeth totaling $25.5 million.

The Settlement Agreement and Plan of Allocation, available at www.EffexorXRIndirectSettlement.com, have more
information.

        9. What can I get from this Settlement?

You can get money from the Settlement with Teva. To get a payment, you must submit a valid Claim Form (see Question 11).
Note: If you already filed a claim in the Wyeth Settlement, you do not need to submit another Claim Form; your previous
claim for the Wyeth Settlement will also serve as your claim for this new Settlement with Teva.

At this time, it is unknown how much each individual or entity who submits a valid claim will receive. The amount of your
payment will depend on the amount of Effexor XR or AB-rated generic versions of Effexor XR you purchased and the number
of claims that are filed. Complete details of how your recovery will be calculated are in the Plan of Allocation, which can be
viewed at www.EffexorXRIndirectSettlement.com.

        10. When will I get my payment from this Settlement?

The Court must approve the Settlement, and any appeals of that decision must be resolved before any money is distributed to
Class Members. The Claims Administrator must also finish processing all the Claim Forms and determine distribution
amounts. This process can take several months. Please be patient.




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                                                How to Get a Payment

     11. How can I get a payment from this Settlement?

To apply for a payment from the Settlement with Teva, you must complete and submit a valid Claim Form. You do not need
to submit another Claim Form if you already filed a claim in the previous settlement with Wyeth; your previous claim for the
Wyeth Settlement will also serve as your claim for this new Settlement with Teva.

If you are a consumer and unless you consent, your identity will not be made public during any part of the claims process.

Claim Forms should be mailed to the address below and must be postmarked by [Month 00, 2025]. You can get a Claim Form
at www.EffexorXRIndirectSettlement.com or by calling 1-877-933-2882 or writing the address below and requesting a Claim
Form.

                                          Effexor XR Indirect Purchaser Settlement
                                                    c/o A.B. Data, Ltd.
                                                     P.O. Box 173005
                                                   Milwaukee, WI 53217

You may also submit a Claim Form online at www.EffexorXRIndirectSettlement.com. If you submit a Claim Form online,
you must do so by [Month 00, 2025]. Unless a consumer consents, all Claim Form submissions will be kept confidential.

     12. If I previously filed a claim in connection with the Wyeth Settlement, do I need to submit a claim to get a
         payment from this Settlement?

No. If you already submitted a claim in connection with the Wyeth Settlement, you do not need to submit another claim to get
a payment from this Settlement with Teva.

     13. Can I get a payment from this Settlement if I excluded myself from the previous Wyeth Settlement?

Yes. If you excluded yourself from the previous Wyeth Settlement (and do not exclude yourself from the new Settlement with
Teva), you can file a claim seeking payment from this Settlement with Teva.

     14. Can I submit a new claim for the previous Wyeth Settlement?

No. The deadline to submit a claim in the Wyeth Settlement has passed, and you can no longer submit a new claim to get a
payment from that Settlement.

                                     Excluding Yourself from the Settlement

If you do not want a payment from this Settlement with Teva, but you want to keep the right to sue or continue to sue Teva on
your own concerning the legal issues in this case, then you must take steps to get out of the Class. This is called excluding
yourself and is sometimes referred to as “opting out” of the Class.

     15. What am I giving up if I stay in the Settlement?

If the Settlement becomes final, you will give up your right to sue Teva on your own for the claims being resolved by this
Settlement. Unless you exclude yourself, the Court’s decisions will bind you.

The specific claims you are giving up (the “released claims”) against Teva are described in the Settlement Agreement, available
at www.EffexorXRIndirectSettlement.com. The Settlement Agreement describes the released claims in detail, so please read
it carefully.

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If you have any questions, you can talk to the lawyers listed in Question 21 for free, or you can talk to your own lawyer if you
have questions about what this means.

     16. What if I do not want to be a part of this Settlement?

If you do not want to be part of the Settlement with Teva, you must exclude yourself from the Class. If you exclude yourself,
you will not receive any benefits that may result from this Settlement, but you will keep your right to sue Teva on your own
for the claims in this lawsuit.

To exclude yourself, you must email or mail a letter to the Claims Administrator stating that you want to exclude yourself from
the Class in this Settlement. The Claims Administrator’s email address is info@EffexorXRIndirectSettlement.com, and its
mailing address is:

                                          Effexor XR Indirect Purchaser Settlement
                                                      EXCLUSIONS
                                                    c/o A.B. Data, Ltd.,
                                                     P.O. Box 173001
                                                   Milwaukee, WI 53217

Your email or letter must include:
   • Your full name, current mailing address, and telephone number;
   • A statement that you want to be excluded from the Teva Settlement Class in In re Effexor XR Antitrust Litigation, No.
       3:11-cv-05479; and
   • Your signature (NOTE: You must personally sign the letter).

You must mail or email your letter so that it is postmarked or submitted by [Month 00, 2025]. This will be the only opportunity
you will have to exclude yourself from the Settlement Class.

Third-party payors wishing to exclude themselves from the Settlement Class must also submit data (i) sufficient to establish
Class membership, and (ii) reflecting their purchases of, and payments for, branded and generic Effexor XR. Class Members
shall not be permitted to exclude other Class Members. Moreover, group or class-wide exclusions shall not be permitted. A
request for exclusion must be submitted by each Class Member on an individual basis, and any request for exclusion by a
purported authorized agent or representative of a Class Member must include proof of the representative’s legal authority and
authorization to act and request exclusion on behalf of each Class Member they seek to opt out.

You cannot exclude yourself over the telephone. Consumer identities will not be made public as part of the exclusion process.
Unless a consumer consents, the Claims Administrator, the Court, Class Counsel, and Defense Counsel will keep that
information confidential.

     17. If I exclude myself, can I still get a payment from this Settlement?

No. You will not get a payment from the Teva Settlement if you exclude yourself from this Settlement.

     18. If I do not exclude myself, can I sue Teva for the same thing later?

No. If the Court approves the proposed Settlement and you do not exclude yourself, you give up (or “release”) the right to sue
Teva for the claims made in this lawsuit. The specific claims you are giving up against Teva are described in detail in the
Settlement Agreement, available at www.EffexorXRIndirectSettlement.com. Please read the Settlement Agreement carefully.




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     19. If I excluded myself from the Class in the Wyeth Settlement, do I need to exclude myself again?

Yes. If you do not want to be part of this Settlement with Teva, you need to exclude yourself by the deadline set forth above,
even if you previously excluded yourself from the previous Wyeth Settlement.

     20. Can I still exclude myself from the previous Wyeth Settlement?

No. The deadline to exclude yourself from the previous Wyeth Settlement has passed.

                                           The Lawyers Representing You

     21. Do I have a lawyer in the case?

Yes. The Court has appointed lawyers to represent you and the other Class Members. These lawyers are called “Class Counsel”:

                                                     C LASS C OUNSEL
                       James E. Cecchi                            Michael M. Buchman
                       Carella, Byrne, Cecchi, Brody &            Motley Rice LLC
                       Agnello, P.C.                              800 Third Avenue
                       5 Becker Farm Road                         New York, NY 10017
                       Roseland, NJ 07068

                       Kenneth A. Wexler                          Richard J. Burke
                       Wexler Boley & Elgersma LLP                Quantum Legal LLC
                       311 S. Wacker Drive                        2801 Lakeside Drive
                       Suite 5450                                 Suite 100
                       Chicago, IL 60606                          Bannockburn, IL 60015

                       Jeffrey L. Kodroff                         James R. Dugan, II
                       Spector, Roseman & Kodroff, P.C.           The Dugan Law Firm, PLC
                       2001 Market Street, Suite 3420             One Canal Place
                       Philadelphia, PA 19103                     365 Canal Street, Suite 1000
                                                                  New Orleans, LA 70130

                       Marvin A. Miller
                       Miller Law LLC
                       53 W. Jackson Blvd., Suite 1320
                       Chicago, IL 60604


You will not be charged for these lawyers. If you want to be represented by another lawyer, you may hire one at your own
expense.

     22. How will the lawyers be paid?

Class Counsel will ask the Court for attorneys’ fees of up to 34% of the Settlement amount, plus costs and expenses that were
not previously reimbursed in connection with the Wyeth Settlement. Any attorneys’ fees, expenses, and costs approved by the
Court will be paid from the Settlement amount.




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                                                Objecting to the Settlement

         23. How do I comment on or object to the Settlement?

 To comment on or object to the Settlement, you (or your lawyer if you have one) must send a written comment or objection to
 the Court and the counsel identified below, by way of the Court’s electronic filing system or by first-class mail. You must send
 your comment or objection postmarked on or before [Month 00, 2025]. Your written comment or objection must include all
 grounds for your objection and can include any supporting materials, papers, or briefs you want the Court to consider. Your
 written comment or objection must include:

     •     Your name, address, telephone number, and an explanation of your objection;
     •     The case name and number: In re Effexor XR Antitrust Litigation, No. 3:11-cv-05479;
     •     The name, address, and telephone number of any counsel representing you in connection with your objection;
     •     A statement as to whether you intend to appear at the Fairness Hearing (discussed further in Questions 26-28, below)
           and the identities of any counsel who will be appearing on your behalf;
     •     A list of all other objections submitted by you, or your counsel, to any class-action settlements submitted in any
           court in the United States in the previous five (5) years, including the full case name, the jurisdiction in which the
           objection was filed, and the docket number (or a statement that there are no such objections); and
     •     Documentation demonstrating that you are a member of the Class and/or this statement, followed by your signature:
           “I declare under penalty of perjury under the laws of the United States of America that [insert your name] is a
           member of the Class.”

 You must mail your comment or objection to the Court and mail copies to Class Counsel and Teva’s Counsel (mailing
 addresses below). All comments and objections must be postmarked by [Month 00, 2025].

 Individual consumers who do not want their identities to be put on the public record as part of the objection process may send
 their objection only to the Claims Administrator (mailing address also included below), who will redact (or “black out”) such
 consumers’ names, addresses, and telephone numbers and then provide such redacted versions to the Court for filing on the
 public court docket. The Claims Administrator will also send copies of the original, unredacted objections to the Court, Class
 Counsel, and Teva’s Counsel. How the Judge and the parties treat the merits of your objection does not depend on whether
 you keep your identifying information off the public record.

             Court                       Class Counsel                   Teva’s Counsel                     Claims
                                                                                                          Administrator
Clerk                            James E. Cecchi                   Devora W. Allon, P.C.            Effexor XR Indirect
United States District Court     Carella, Byrne, Cecchi, Brody     Kirkland & Ellis LLP             Purchaser Settlement
District of New Jersey           & Agnello, P.C.                   601 Lexington Avenue             OBJECTIONS
Clarkson S. Fisher Building      5 Becker Farm Road                New York, NY 10022               c/o A.B. Data, Ltd.,
& U.S. Courthouse                Roseland, NJ 07068                devora.allon@kirkland.com        P.O. Box 173001
402 East State Street            jcecchi@carellabyrne.com                                           Milwaukee, WI 53217
Room 2020
Trenton, NJ 08608

 Any lawyer representing a Class Member for the purpose of making comments or objections must also file a Notice of
 Appearance with the Court using the Court’s Case Management/Electronic Case Files (CM/ECF) system.

 You may file a claim even if you object to, or comment on, the Settlement. Whether or not you object, you must have previously
 filed a claim in connection with the Wyeth Settlement or file a claim by the deadline in Question 11 above to receive money
 from the Settlement with Teva.




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     24. Can I object to the previous settlement with Wyeth?

No. The deadline to object to the previous Wyeth Settlement has passed.

     25. What is the difference between objecting and asking to be excluded?

Objecting is simply telling the Court that you do not like something about the Settlement. You can only object if you stay in
the Class. If you object to the Settlement, you are still a Class Member, and you can submit a Claim Form by [Month 00,
2025] (if you did not do so already in connection with the Wyeth Settlement, in which case, you do not need to submit another
claim to get a payment from this Settlement with Teva).

Excluding yourself is telling the Court that you do not want to be a part of the Class. If you exclude yourself, you cannot
receive a payment from this Settlement. You also will have no basis to object to the Settlement or appear at the Fairness
Hearing (discussed below) because it no longer affects you.

                                                  The Fairness Hearing
The Court will hold a hearing, called a Fairness Hearing, to decide whether to approve the Settlement. You may attend and
ask to speak, but you do not have to do so.

     26. When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing on [Month 00, 2025] at [XX:00 x.m.] Eastern in Courtroom 4W of the United States
District Court for the District of New Jersey, Clarkson S. Fisher Building & U. S. Courthouse, 402 East State Street, Trenton,
New Jersey. The hearing may be moved to a different date, time, or location without additional notice, so it is a good idea to
check www.EffexorXRIndirectSettlement.com for updates.

At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. If there are objections, the
Court will consider them and will listen to people who have asked to speak at the Fairness Hearing. The Court may also decide
whether to award attorneys’ fees, costs, and expenses. After the Fairness Hearing, the Court will decide whether to approve
the Settlement. We do not know how long these decisions will take.

     27. Do I have to come to the Fairness Hearing?
No. Class Counsel will answer questions the Court may have at the Fairness Hearing. But you are welcome to come at your
own expense. If you send an objection, you do not have to come to Fairness Hearing to talk about it. As long as you mailed
your written objection on time, the Court will consider it. You may also pay your own lawyer to attend, but it is not necessary.

     28. May I speak at the Fairness Hearing?
Yes, you may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send or email a letter stating
that it is your “Notice of Intention to Appear in In re Effexor XR Antitrust Litigation, No. 3:11-cv-05479.” Be sure to include
your name, address, telephone number, and your signature, along with copies of any papers, exhibits, or other evidence and
the identity of all witnesses you intend to present to the Court in connection with the Fairness Hearing. Your Notice of Intention
to Appear must be postmarked no later than [Month 00, 2025] and emailed or sent to the addresses listed in Question 23.

                                                    If You Do Nothing

     29. What happens if I do nothing?
If you already filed a claim in the Wyeth Settlement and do nothing, your previous claim for the Wyeth Settlement will also
serve as your claim for this new Settlement with Teva, and you may get a payment from this Settlement too. If you did not
already file a claim and do nothing now, you will not get a payment from this Settlement.




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You will also be legally bound by the Court’s orders, good or bad. You will remain in the Class and give up your right to sue
Teva on your own for the legal claims made in this lawsuit.

                                              Getting More Information

     30. How do I get more information?
This notice is only a summary. More details are in the Settlement Agreement, available at
www.EffexorXRIndirectSettlement.com. You also may write with questions to the Clam Administrator at Effexor XR Indirect
Purchaser Settlement, c/o A.B. Data, Ltd., PO Box 173005, Milwaukee, WI 53217 or call the toll-free number at 1-877-933-
2882.

Complete copies of public pleadings, Court rulings, and other filings are available for review and copying at the Clerk’s
office during normal business hours. The address is United States District Court for the District of New Jersey, 402 East
State Street, Trenton, NJ 08608.

Please do not contact the Court or the Judge regarding this Notice.

DATED: Month 00, 2025                                      BY ORDER OF THE COURT
                                                           UNITED STATES DISTRICT COURT
                                                           DISTRICT OF NEW JERSEY




     QUESTIONS ? CALL T OLL -FREE 1-877-933-2882 OR VISIT WWW.E FFEXORXRI NDIRECTSETTLEMENT.COM
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                        EXHIBIT D
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                                               Legal Notice
 Did You Purchase, Pay for, or Provide Reimbursement for Effexor XR and/or Its Generic
                                       Equivalent?
                     You Could Get Money from a New Settlement
There is a new $2.25 million settlement (the “Settlement”) with Teva Pharmaceuticals USA, Inc. and Teva
Pharmaceutical Industries Ltd. (collectively, “Teva”) in a class-action lawsuit claiming that Wyeth (also
known as Wyeth LLC and formerly known as Wyeth, Inc. and American Home Products); Wyeth
Pharmaceuticals, Inc.; Wyeth-Whitehall Pharmaceuticals; and Wyeth Pharmaceuticals Company
(collectively, “Wyeth”) and Teva unlawfully kept generic versions of Effexor XR off the market. Plaintiffs
allege this conduct caused consumers and third-party payors to pay more for brand and generic Effexor XR
than they should have. Wyeth and Teva deny they did anything wrong. The Court previously approved a
$25.5 million settlement with Wyeth (the “Wyeth Settlement”). No one is claiming that Effexor XR is unsafe.
                                   Who is included in the Settlement?
You may be included in the Settlement if you are a person or entity who purchased, paid for, and/or
reimbursed some or all of the cost of Effexor XR or AB-rated generic versions of Effexor XR for yourself,
your family, or your members, employees, insureds, participants, or beneficiaries, from June 14, 2008
through May 31, 2011, in the following states: Arizona, California, Florida, Kansas, Maine, Massachusetts,
Michigan, Minnesota, Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North
Carolina, Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and Wisconsin.

A more detailed notice, including the full class definition and who is not included, is available at
www.EffexorXRIndirectSettlement.com.
                                  What does the Settlement provide?
Teva will pay $2.25 million to settle this lawsuit. This amount will be used to pay (1) money to eligible
Class Members; (2) notice and administration costs; (3) attorneys’ fees; and (4) costs and expenses not
previously reimbursed in connection with the Wyeth Settlement.
                                      How can I get a payment?
You must submit a valid claim form to apply for payment from the Settlement Fund. The amount of your
payment will depend on the amount of Effexor XR or AB-rated generic versions of Effexor XR you
purchased and the number of claims that are filed.
If you already filed a claim in connection with the Wyeth Settlement, you do not need to submit another
claim; your previous claim form for the Wyeth Settlement will also serve as your claim form for this new
Settlement with Teva. If you did not previously submit a claim in connection with the Wyeth Settlement,
the claim forms, and information on how to submit them, are available at
www.EffexorXRIndirectSettlement.com. Claim forms must be postmarked (if mailed) or received (if
submitted online) on or before [Month 00, 2025]. You can no longer file a claim for the Wyeth Settlement.

                                         What are my rights?
Even if you do nothing, you will be bound by the Court’s decisions. If you want to keep your right to sue
Teva yourself, you must exclude yourself by [Month 00, 2025]. If you do not exclude yourself, you may
object to the Settlement by [Month 00, 2025]. Detailed instructions about how to act on these rights are
available at www.EffexorXRIndirectSettlement.com.
The Court will hold a hearing on [Month 00, 2025] to consider whether to approve the Settlement and a
request for attorneys’ fees of up to 34% of the Settlement, plus costs and expenses that were not previously
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reimbursed in connection with the Wyeth Settlement. You or your own lawyer may appear and speak at the
hearing at your own expense. The Court may change these deadlines or the hearing date and time. Check
the website below for updates. Please do not call the Court or the Clerk of the Court for information about
the Settlement.
   For more information: 1-877-933-2882                     www.EffexorXRIndirectSettlement.com
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                        EXHIBIT E
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                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF NEW JERSEY

   In re Effexor XR Antitrust Litigation
                                                    Civil Action No. 3:11-5661(ZNQ)(JBD)
   This Document Relates To:
   All Indirect Purchaser Class Actions             Master Docket No. 3:11-cv-05479 (ZNQ)
                                                    (JBD)

             INSTRUCTIONS FOR SUBMITTING YOUR THIRD-PARTY PAYOR CLAIM FORM
To qualify to receive a payment from the new Settlement with Teva (the “Teva Settlement”), you must complete and
submit this Claim Form. However, if you already submitted a Claim Form in connection with the previous settlement with
Wyeth in this litigation (the “Wyeth Settlement”), you do not need to submit another claim to receive a payment from the
Teva Settlement.
A third-party payor (“TPP”) Class Member, or an authorized agent for a TPP, can complete this Claim Form. If both a
TPP Class Member and its authorized agent submit a Claim Form, the Claims Administrator will consider only the TPP
Class Member’s Claim Form. The Claims Administrator may ask for supporting documents in addition to the documents
and information requested below. The Claims Administrator may reject a claim if the TPP Class Member or its authorized
agent does not provide all requested documents in a timely manner.
If you are a TPP Class Member submitting a Claim Form on your own behalf, complete “Section A – COMPANY OR
HEALTH PLAN THIRD-PARTY PAYOR CLASS MEMBER ONLY,” in addition to the other information requested by
this Claim Form.
If you are an authorized agent of one or more TPP Class Members, you must provide the information requested in “Section
B – AUTHORIZED AGENT ONLY,” in addition to the other information requested by this Claim Form. Do not submit
a Claim Form on behalf of any other TPP Class Member unless that TPP Class Member provided you with prior
written authorization to submit this Claim Form. If any conflicts arise that require resolution, you may be required
to provide such written authority to the Claims Administrator.
If you are submitting a Claim Form only as an authorized agent of one or more TPP Class Members, you may submit a
separate Claim Form for each TPP Class Member OR you may submit one Claim Form for all such TPP Class Members,
so long as you provide the information required for each TPP Class Member on whose behalf you are submitting this
Claim Form.
If you are submitting Claim Forms on both your own behalf as a TPP Class Member AND as an authorized agent on behalf
of one or more TPP Class Members, you should submit one Claim Form for yourself, completing Section A, and another
Claim Form or Claim Forms as an authorized agent for the other TPP Class Member(s), completing Section B.
You can submit your Claim Form by mail or electronically on the Settlement website
(www.EffexorXRIndirectSettlement.com). You may need to provide certain requested documents to substantiate your
claim.
If you did not already submit a completed Claim Form in connection with the Wyeth Settlement, or you do not complete
and submit your Claim Form postmarked (if mailed) or received (if submitted online) by [Month 00, 2025], you will not
receive a payment from the Teva Settlement. Submitting a Claim Form does not guarantee you will receive payment from
the Teva Settlement. If the Claims Administrator rejects or reduces your Claim, you may follow the dispute resolution
process described on page 6-7.



   QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM                   PAGE 1 OF 10
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CLAIM INFORMATION           AND DOCUMENTATION   Document   807-3 Filed 03/17/25 Page 56 of 124
                                                       REQUIREMENTS
                                                  PageID: 14324
Please provide information to support your Claim of membership in the Class in the Teva Settlement, which for TPPs is
defined as follows:
       All entities in Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi,
       Montana, Nevada, New Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode Island, South
       Dakota, Tennessee, West Virginia, and Wisconsin (the “Class States”) that purchased, paid, and/or provided
       reimbursement for Effexor XR or AB-rated generic versions of Effexor XR for consumption by their members,
       employees, insureds, participants, or beneficiaries, from June 14, 2008 through May 31, 2011 (the “Class Period”).
       For purposes of the Class definition, persons or entities “purchased” Effexor XR or its generic versions if they paid
       or reimbursed some or all of the purchase price. An entity is considered to be “in” a given Class State if a purchase
       took place in that Class State (i.e., if a person for whom the entity purchased, paid, or provided reimbursement for
       Effexor XR or an AB-rated generic version of Effexor XR purchased the drug in a pharmacy, or received the drug
       by mail-order prescription, in that Class State).
The Class does not include the following entities:
       a)     Wyeth, Inc.; Wyeth—a/k/a Wyeth LLC, f/k/a Wyeth, Inc., f/k/a American Home Products; Wyeth
              Pharmaceuticals, Inc.; Wyeth-Whitehall Pharmaceuticals; Wyeth Pharmaceuticals Company (collectively,
              “Wyeth”); Teva Pharmaceuticals USA, Inc.; Teva Pharmaceutical Industries Ltd. (collectively, “Teva”);
              and their respective subsidiaries and affiliates;
       b)     State and local governments to the extent their claims may be asserted under applicable state law only by
              the state Attorney General, or are otherwise prohibited by applicable law from being asserted by private
              counsel on a contingent fee basis;
       c)     All entities that purchased Effexor XR or its generic equivalent for purposes of resale or directly from
              Wyeth, Teva, or their affiliates;
       d)     Fully insured health plans (i.e., plans that purchased insurance from another third-party payor covering
              100% of the plan’s reimbursement obligations to its members);
       e)     Pharmaceutical benefit managers; and
       f)     Entities who excluded themselves from (or opted out of) the Class in the Teva Settlement.
The following information should be provided to support your claim as a TPP Class Member:
       a)     Name of TPP Class Member;
       b)     NDC Number (the Settlement website provides a list of the NDCs the Claims Administrator will accept) –
              e.g., 00000-0000-00; or Drug Name – e.g., extended-release venlafaxine hydrochloride;
       c)     Fill Date or Date of Purchase – e.g., 06/01/2012;
       d)     Location (State) of Purchase – e.g., CA;
       e)     Location (State) of insured or beneficiary; and
       f)     Amount Paid by TPP net of co-pays, deductibles, and co-insurance – e.g., $20.00.
If you are submitting a Claim Form on behalf of multiple TPP Class Members, also provide the following information for
each purchase or reimbursement:
       g)     Plan or Group Name; and
       h)     Plan or Group FEIN – provide group number for each transaction.
An exemplar spreadsheet containing these categories and a list of applicable NDC Numbers can be downloaded from the
Settlement website, www.EffexorXRIndirectSettlement.com. Please use this format if possible, and provide the electronic
data in Microsoft Excel, ASCII flat file pipe “|”, tab-delimited, or fixed-width format.
Data and/or information demonstrating membership in the class is mandatory. Transaction data is mandatory for claims of

   QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM                      PAGE 2 OF 10
$300,000 or Case
               more, 3:11-cv-05479-ZNQ-JBD
                      but the Claims Administrator mayDocument     807-3transaction
                                                          also require       Filed 03/17/25      Page
                                                                                     data for claims of 57
                                                                                                        lessofthan
                                                                                                               124$300,000, so
                                                        PageID: 14325
keep related transaction data and any other documentation supporting your claim in case the Claims Administrator requests
it later. If your claim is for less than $300,000, you should still provide the transaction data with your claim submission if
you can. If, after an audit of your claim, the Claims Administrator still has questions about your claim and you have not
provided sufficient substantiation of your claim, the Claims Administrator may reject your claim.
Please contact the Claims Administrator at 1-877-933-2882 with any questions about the required claims information or
documentation. Please do not contact the Court concerning these issues.




   QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM                        PAGE 3 OF 10
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    MUST BE POSTMARKED ON                   In re Effexor XR Antitrust Litigation
          OR BEFORE,                            Indirect Purchaser Settlement
        OR SUBMITTED
    ONLINE BY [Month 00, 2025]

                                 THIRD-PARTY PAYOR CLAIM FORM
                                          Use Blue or Black Ink Only
Attention: This form should only be filled out on behalf of a Third-Party Payor (or its authorized agent) and
only if you did not already file a claim in connection with the Wyeth Settlement. If you are a Consumer who
did not already file a claim in connection with the Wyeth Settlement, please fill out the Consumer Claim Form,
available at www.EffexorXRIndirectSettlement.com.


•   Complete Section A only if you are filing as an individual TPP Class Member.
•   Complete Section B only if you are an authorized agent filing on behalf of one or more TPP Class Members.

 Section A: Company or Health Plan Class Member Only
Company or Health Plan Name


Contact Name


Address 1


Address 2                                                                                Floor/Suite


City                                                            State                    Zip Code


Area Code - Telephone Number                               Tax Identification Number


Email Address


List other names by which your company or health plan has been known or other Federal Employer Identification
Numbers (“FEINs”) it has used since June 14, 2008.



       Health Insurance Company/HMO                  Self-Insured Employee Health or Pharmacy Benefit Plan




       Self-Insured Health & Welfare Fund
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           Case
        Other    3:11-cv-05479-ZNQ-JBD
              (Explain):                       Document 807-3       Filed 03/17/25    Page 59 of 124
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 Section B: Authorized Agent Only
 As an authorized agent, please check how your relationship with the TPP Class Member is best described. (You
 must provide documents demonstrating this relationship.)

         Third-Party Administrator or Administrative Services Only Provider

         Pharmacy Benefits Manager

         Other (Explain):

 Authorized Agent’s Company Name


 Contact Name


 Address                                                                                 Floor/Suite


 City                                                           State                    Zip Code



 Area Code - Telephone Number                              Authorized Agent’s Tax Identification Number


Email Address




Please list the name and FEIN of every TPP Class Member (i.e., company or health plan) for which you were
authorized to submit this Claim Form. (Attach additional sheets to this Claim Form as needed.) Alternatively, you
may submit the requested list of TPP Class Member names and FEINs in an electronic format, such as Excel or a
tab-delimited text file. Please contact the Claims Administrator to determine which formats are acceptable.
   TPP CLASS MEMBER’S NAME                                 TPP CLASS MEMBER’S FEIN




QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM                    PAGE 5 OF 10
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 Section C: Purchase Information

Please type or print in the box below, the total amount, from June 14, 2008 through May 31, 2011, that you paid or
reimbursed for Effexor XR or AB-rated generic versions of Effexor XR, for consumption by your members,
employees, insureds, participants, or beneficiaries, where the person(s) purchased the drug in a pharmacy, or
received Effexor XR or AB-rated generic versions of Effexor XR by mail-order prescription, in Arizona, California,
Florida, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Montana, Nevada, New Hampshire,
New Mexico, New York, North Carolina, Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and/or
Wisconsin.
Please note: For retail purchases, the State of purchase is the State where the pharmacy is physically located. If any
purchases were made by mail order, the State to which the prescription was sent is considered the place of purchase.
For example, if Effexor XR or generic Effexor XR was purchased by mail order and the prescription was sent to
Arizona, Arizona would be considered the place of purchase for that transaction and the purchase would be eligible
for a recovery. On the other hand, if Effexor XR or generic Effexor XR was purchased by mail order and the
prescription was sent to South Carolina, that transaction would not be eligible for a recovery because the place of
purchase would be considered South Carolina, which is not one of the Class States covered by the Settlement.
If you are an authorized agent completing this Claim on behalf of more than one TPP Class Member, enter the total
amount paid by all the TPP Class Members included in this Claim. You must also provide the information required
for each TPP Class Member on whose behalf you are submitting this Claim Form. An exemplar spreadsheet
containing the required categories of information can be downloaded from the Settlement website,
www.EffexorXRIndirectSettlement.com.
Do not submit a Claim Form for or on behalf of any of the entities:
       a)      Wyeth, Teva, and their respective subsidiaries and affiliates;
       b)      State and local governments to the extent their claims may be asserted under applicable state law
               only by the state Attorney General, or are otherwise prohibited by applicable law from being asserted
               by private counsel on a contingent fee basis;
       c)      All entities that purchased Effexor XR or its generic equivalent for purposes of resale or directly
               from Wyeth, Teva, or their affiliates;
       d)      Fully insured health plans (i.e., plans that purchased insurance from another third-party payor
               covering 100% of the plan’s reimbursement obligations to its members);
       e)      Pharmaceutical benefit managers; and
       f)      Any entity that excluded themselves from (or opted out of) the Class in the Teva Settlement.

  Total amount (net of co-pays, deductibles, and co-insurance) you paid or
  reimbursed for Effexor XR and/or its AB-rated generic version(s), in
  the Class States, from June 14, 2008 through May 31, 2011, for                $
  consumption by your members, employees, insureds, participants, or
  beneficiaries:

       Check this box and sign the certification in Section E to confirm that the Claimant indicated in Section A is
       a TPP Class Member and none of the exclusion criteria above is applicable. If any of the exclusion criteria
       is applicable to the Claimant, the Claims Administrator may reject the Claim.




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Section D: Proof of Payment and Disputes Regarding
                                           PageID: Claim
                                                   14329Amounts
Please provide as much of the information requested above in the “CLAIM INFORMATION AND
DOCUMENTATION REQUIREMENTS” section in the instructions as possible.
Transaction data supporting claims is mandatory for claims of $300,000 or more, but the Claims Administrator
may also require transaction data for claims of less than $300,000, so please keep related transaction data and
any other documentation supporting your claim (e.g., invoices) in case the Claims Administrator requests it later.
If, after an audit of your claim, the Claims Administrator still has questions about your claim and you have not
provided sufficient substantiation of your claim, the Claims Administrator may reject your claim. The business
records utilized to establish the list of transactions claimed may be requested during the review process; please
maintain this information.
If the Claims Administrator rejects or reduces your claim and you believe the rejection or reduction is in error,
you may contact the Claims Administrator to request further review. If the dispute concerning your claim cannot
be resolved by the Claims Administrator and Class Counsel, you may ask the Court to review your claim.
To request Court review, you must send the Claims Administrator a signed written statement (a) stating your
reasons for contesting the rejection or payment determination regarding your claim and (b) specifically stating
that you “request that the Court review the determination regarding this claim.” You must include all
documentation supporting your argument(s). The Claims Administrator and Class Counsel will present the
dispute to the Court for review, which may include public filing with the Court of your claim and the supporting
documentation. Please note: Court review should only be sought if you disagree with the Claims Administrator’s
determination regarding your claim.

Section E: Certification
By signing below, I hereby swear and affirm that (1) I have read and am familiar with the contents of the instructions
accompanying this Claim Form; (2) the information I provided in this Claim Form and in any documents I have
attached are true, correct, and complete to the best of my knowledge; and (3) I have provided all the information
requested above to the extent I have it.
I further certify that I, or the TPP Class Member(s) I represent:
   a) am/is/are an entity that purchased, paid for, or reimbursed some or all of the purchase price of Effexor XR
      or AB-rated generic versions of Effexor XR for consumption by my/its/their members, employees, insureds,
      participants, or beneficiaries, in one or more of the Class States, from June 14, 2008 through May 31, 2011;
      and
   b) am/is/are not one of the following:
       i.)     Wyeth, Teva, and their respective subsidiaries and affiliates;
       ii.)    State and local governments to the extent their claims may be asserted under applicable state law
               only by the state Attorney General, or are otherwise prohibited by applicable law from being asserted
               by private counsel on a contingent fee basis;
       iii.)   Entities that purchased Effexor XR or its generic equivalent for purposes of resale or directly from
               Wyeth, Teva, or their affiliates;
       iv.)    Fully insured health plans (i.e., plans that purchased insurance from another third-party payor
               covering 100% of the plan’s reimbursement obligations to its members); or
       v.)     Pharmaceutical benefit managers.
I further certify that neither I, nor the TPP Class Member(s) I represent, asked to be excluded (“opted out”) from
the Class in the Teva Settlement.
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I further certify that I, and the TPP Class Member(s) I represent,
                                                 PageID:    14330have read and are familiar with the releases stated
in Paragraph 12 of the Settlement Agreement. The releases in that Paragraph provide as follows:
   a) Upon the occurrence of the Effective Date as defined in Paragraph 6 hereof, and in consideration for the
      Settlement Fund Amount described in this Settlement Agreement, Indirect Purchaser Plaintiffs and the
      Indirect Purchaser Class—except those who requested exclusion from the Indirect Purchaser Class and
      whose request was approved by the Court—on behalf of themselves and their respective past and present
      parents, subsidiaries, and affiliates, general and limited partners, officers, directors, employees, agents,
      attorneys, servants, predecessors, successors, heirs, executors, administrators, and representatives (the
      “Releasing Parties”), shall release and forever discharge, and covenant not to sue Teva and its respective
      past, present, and future parents, subsidiaries, divisions, affiliates, joint ventures, stockholders, general
      partners, limited partners, officers, directors, management, supervisory boards, insurers, employees, agents,
      servants, trustees, associates, attorneys, and any of their legal representatives (and the predecessors,
      successors, heirs, executors, administrators, and assigns of each of the foregoing) (the “Released Parties”),
      with respect to any and all past, present, or future liabilities, claims, demands, obligations, suits, damages,
      penalties, levies, executions, judgments, debts, charges, actions, or causes of action, at law or in equity,
      whether class, individual, or otherwise in nature, and whether known or unknown, arising out of or relating
      to any conduct, events, or transactions, prior to the date of preliminary approval of this Settlement
      Agreement, (a) alleged, or which reasonably could have been alleged, in the Indirect Purchaser Class Action
      concerning the alleged anticompetitive scheme to prevent and delay approval and market entry of AB-rated
      generic equivalents of Effexor XR, or (b) concerning end-payor purchases of Effexor XR and/or its AB-
      rated generic equivalents in the Class States and arising under the Sherman Act, 15 U.S.C. §§ 1 & 2, et seq.,
      or any other federal or state statute or common-law doctrine relating to antitrust or consumer protection
      (collectively, the “Released Claims”). Upon the Effective Date, the Releasing Parties will be forever barred
      and enjoined from commencing, instituting, prosecuting, or continuing to prosecute any action or other
      proceeding in any forum whatsoever, including any court of law or equity, arbitration tribunal, or
      administrative forum, asserting the Released Claims against the Released Parties.
   b) In addition, Indirect Purchaser Plaintiffs, on behalf of themselves and all other Releasing Parties, hereby
      expressly waive, release, and forever discharge, upon the Settlement becoming final, any provisions, rights,
      and benefits conferred by Section 1542 of the California Civil Code, which reads:
               Section 1542. General Release; extent. A general release does not extend to claims that the creditor
               or releasing party does not know or suspect to exist in his or her favor at the time of executing the
               release and that, if known by him or her, would have materially affected his or her settlement with
               the debtor or released party; or by any law of any state or territory of the United States or other
               jurisdiction, or principle of common law, which is similar, comparable, or equivalent to Section 1542
               of the California Civil Code. The Releasing Parties may hereafter discover facts other than or
               different from those which he, she, or it knows or believes to be true with respect to the claims which
               are the subject matter of this Paragraph 12, but each Releasing Party hereby expressly waives and
               fully, finally, and forever settles, releases, and discharges, upon this Settlement becoming final, any
               known or unknown, suspected or unsuspected, asserted or unasserted, contingent or non-contingent
               claim that would otherwise fall within the definition of Released Claims, whether or not concealed
               or hidden, without regard to the subsequent discovery or existence of such different or additional
               facts.




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    c) Reservation of Claims. The Releasing Parties   intend14331
                                                 PageID:      by this Settlement Agreement to release only Teva and
       the Released Parties with respect to the Released Claims. The Releasing Parties specifically do not intend
       this Settlement Agreement, or any part hereof or any other aspect of the proposed Settlement Agreement, to
       compromise or otherwise affect in any way any rights the Releasing Parties have or may have against any
       other person, firm, association, company, or corporation whatsoever, including Wyeth. The release set forth
       in this Paragraph 12 is not intended to and shall not release any claims other than the Released Claims.
    d) This Settlement is not intended to and does not release claims arising in the ordinary course of business
       between the Releasing Parties and the Released Parties that are unrelated to the allegations in the Indirect
       Purchaser Class Action, such as claims under Article 2 of the Uniform Commercial Code (pertaining to
       Sales), the laws of negligence or product liability or implied warranty, breach of contract, breach of express
       warranty, or personal injury.
To the extent I was authorized to submit this Claim Form on behalf of one or more TPP Class Members and
accordingly am submitting this Claim Form as an authorized agent, and to the extent I have been authorized to
receive on behalf of the TPP Class Member(s) any and all amounts from the Settlement that may be allocated to
them, I certify that such authority has been properly vested in me in writing, that I can and will submit such written
authorization to the Claims Administrator if any conflicts arise that require resolution, and that I will fulfill all duties
I may owe the Class Member(s). If amounts from the Settlement are distributed to me, and a TPP Class Member
later claims I did not have the authority to claim and/or receive such amounts on its behalf, I and/or my employer
will hold the Class, Class Counsel, and the Claims Administrator harmless with respect to any claims made by the
TPP Class Member.
I/We hereby submit to the jurisdiction of the United States District Court for the District of New Jersey for all
purposes connected with this Claim Form, including resolving disputes related to this Claim Form. I/We
acknowledge that if I/we provided any false information or representations related to this claim, I/we may be subject
to sanctions, including criminal prosecution. I agree to supplement the Claim Form by furnishing documentary
backup for the information provided herein upon request of the Claims Administrator.

I certify that the above information supplied by the undersigned is true and correct to the best of my
knowledge and that this Claim Form was executed this _______ day of __________ 2025.


 Signature                                                      Position/Title


 Print Name                                                     Date




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Mail your completed Claim Form, along with       any supporting
                                               PageID:   14332 documents as described in the CLAIM
INFORMATION AND DOCUMENTATION INSTRUCTIONS on pages 2-3 above, to the address below,
postmarked no later than [Month 00, 2025] or submit the information online at the website below by that date:

                                Effexor XR Indirect Purchaser Settlement
                                            c/o A.B. Data, Ltd.
                                             P.O. Box 173005
                                           Milwaukee, WI 53217
                                   Toll-Free Telephone: 1-877-933-2882
                             Website: www.EffexorXRIndirectSettlement.com

                                        REMINDER CHECKLIST:
    1. Please complete and sign the above Claim Form or complete the online Claim Form. Attach or upload
       documents supporting your claim.
    2. Keep a copy of your Claim Form and supporting documents for your records.
    3. If you would also like a receipt acknowledging your Claim Form was received, please complete the form
       online or mail this form via Certified Mail, Return Receipt Requested.

If you move and/or your name changes, please send your new address and/or your new name or contact
information to the Claims Administrator at info@EffexorXRIndirectSettlement.com or via U.S. Mail at the
address above.




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                         EXHIBIT F
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                                 UNITED STATES  DISTRICT
                                          PageID: 14334 COURT
                                    DISTRICT OF NEW JERSEY

   In re Effexor XR Antitrust Litigation
                                                    Civil Action No. 3:11-5661 (ZNQ)(JBD)
   This Document Relates To:
   All Indirect Purchaser Class Actions             Master Docket No. 3:11-cv-05479
                                                    (ZNQ)(JBD)
                             Instructions for Submitting Your Consumer Claim Form
If you are a Class Member who is a consumer and would like to qualify to receive a payment from the Teva Settlement,
you must complete and submit this Claim Form. However, if you already submitted a Claim Form in connection with the
previous settlement with Wyeth in this litigation (the “Wyeth Settlement”), you do not need to submit another claim to
receive a payment from the Teva Settlement.
Your identity will not be made public during any part of the claims process. If you did not already file a claim in
connection with the Wyeth Settlement, you must complete this Claim Form and mail it to the Claims Administrator
at the address provided below, postmarked no later than [Month 00, 2025], or you can submit your claim online
at www.EffexorXRIndirectSettlement.com, no later than [Month 00, 2025].
   •   Complete all required portions of the attached Claim Form:
1. Complete Section A. You must provide your name and contact information.
2. Review and complete Section B to confirm you qualify to file a claim.
3. Complete Section C to provide information about your total purchases of Effexor XR or generic versions of Effexor
   XR (also known as extended-release venlafaxine hydrochloride).
4. Review Section D and provide documentation to show you purchased or paid for Effexor XR or generic versions of
   Effexor XR at least once.
5. Review Section E and sign the Claim Form to certify that the information you provided is true and correct to the best
   of your knowledge.
   •   By signing and submitting the Claim Form, you are swearing under penalty of perjury that you qualify to submit
       a claim according to the criteria given in Section B.
   •   You have two options to submit your Claim Form:
           o You can mail your completed and signed Claim Form and supporting documents by First-Class U.S. Mail,
             postage prepaid, postmarked no later than [Month 00, 2025], to:
                                           Effexor XR Indirect Purchaser Settlement
                                                     c/o A.B. Data, Ltd.
                                                      P.O. Box 173005
                                                    Milwaukee, WI 53217
                                                             OR
           o You can complete and submit the Claim Form and upload supporting documents on the Settlement
             website, www.EffexorXRIndirectSettlement.com, no later than [Month 00, 2025]. If you complete the
             online Claim Form, you will receive a receipt saying that your claim was submitted. If you choose this
             option and file a claim electronically, your electronic signature and submission of the form will conform
             to the requirements of the Electronic Signatures Act, 15 U.S.C. § 7001, et seq., and will have the same
             force and effect as if you signed the Claim Form in hard copy.
   •   If you did not already submit a completed Claim Form in connection with the Wyeth Settlement, or your
       completed Claim Form in connection with the Teva Settlement is not postmarked (if mailed) or received (if
          QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM        PAGE 1 OF 7
     Case 3:11-cv-05479-ZNQ-JBD Document 807-3 Filed 03/17/25 Page 67 of 124
submitted) online by [Month 00, 2025], youPageID:
                                             will not receive
                                                      14335 any payment from the Teva Settlement. Submitting
this Claim Form does not guarantee that you will receive payment from the Teva Settlement. If the Claims
Administrator rejects or reduces your Claim, you may follow the dispute resolution process described on page 5.




  QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM       PAGE 2 OF 7
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          MUST BE                              PageID: 14336
    POSTMARKED ON OR                   In re Effexor XR Antitrust Litigation
          BEFORE,                          Indirect Purchaser Settlement
       OR SUBMITTED
        ONLINE BY,
      [MONTH 00, 2025]

                                        CONSUMER CLAIM FORM
                                          Use Blue or Black Ink Only

Attention: This form should only be filled out if you are a Consumer and you did not already file a claim in
connection with the Wyeth Settlement.
If you are a Third-Party Payor and you did not already file a claim in connection with the Wyeth Settlement, please
fill out the Third-Party Payor Claim Form, available at www.EffexorXRIndirectSettlement.com.

 Section A: Claimant Identification
Claimant’s Name


Agent/Legal Representative (if any)


Street Address


City                                                            State                      Zip Code


Daytime Telephone Number                                   Email Address*


*By providing your email address, you authorize the Claims Administrator to use that email address to send you
information relevant to this claim.

 Section B: Should I File a Claim Form?
You may be eligible to file a Claim Form and receive a payment from this Settlement if you are a member of the
certified Class. If you already filed a claim in connection with the Wyeth Settlement, you do not need to submit
another Claim Form. For consumers, the certified Class is defined as follows:
       All persons in Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan, Minnesota,
       Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode
       Island, South Dakota, Tennessee, West Virginia, and Wisconsin (the “Class States”) who purchased, paid,
       and/or provided reimbursement for Effexor XR or AB-rated generic versions of Effexor XR for
       consumption by themselves or their families from June 14, 2008 through May 31, 2011 (the “Class Period”).
       For purposes of the Indirect Purchaser Class definition, persons “purchased” Effexor XR or its generic
       versions if they paid or reimbursed some or all of the purchase price. A person is considered to be “in” a
       given Class State if their purchase took place in that Class State (i.e., if the individual purchased Effexor
       XR or an AB-rated generic version of Effexor XR in a pharmacy in that Class State or received the drug by
       mail-order prescription in that Class State).

       QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTS ETTLEMENT.COM         PAGE 3 OF 7
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Please note, certain consumers are not includedPageID:
                                                in the Teva Settlement. You should not file a claim for yourself
                                                        14337
or on behalf of any of the following consumers:

    •     Persons who purchased Effexor XR or its generic equivalent for resale (not for personal use) or directly
          from Wyeth, Teva, or their affiliates;
    •     Judges in this case and any members of their immediate families; and/or
    •     Persons who excluded themselves from (or opted out of) the Class in the Teva Settlement.
 If you excluded yourself from the Class in the Teva Settlement, you may not file a claim. However, you may
 still file a claim if you excluded yourself from the Class in the Wyeth Settlement, so long as you did not also
 exclude yourself from the Class in the Teva Settlement.

         Check this box and sign the certification in Section E to confirm that the claimant indicated in Section A is
         a consumer Class member and none of the exclusion criteria above is applicable. If any of the exclusion
         criteria applies to the claimant, the Claims Administrator may reject this claim.

 Section C: Purchase Information
If you are an eligible claimant, please type or print in the boxes below the total number of prescriptions and amounts
you paid, from June 14, 2008 through May 31, 2011, for Effexor XR or generic Effexor XR purchases in the Class
States listed in Section B. For retail purchases, the State of purchase is the State where the pharmacy is physically
located. If any purchases were made by mail order, the State to which the prescription was sent—most likely your
state of residence—is considered the place of purchase. For example, if you purchased Effexor XR or generic
Effexor XR by mail order and had the prescription sent to Arizona, Arizona would be considered the place of
purchase for that transaction and the purchase would be eligible for a recovery. On the other hand, if you purchased
Effexor XR or generic Effexor XR by mail order and had the prescription sent to South Carolina, that transaction
would not be eligible for a recovery because the place of purchase would be considered South Carolina, which is
not one of the Class States listed in Section B that are covered by the Settlement.

        Total number of prescriptions of Effexor XR or
        generic Effexor XR purchased in the Class States
        from June 14, 2008 through May 31, 2011:


        Total amount of out-of-pocket payments for the           $
        Effexor XR or generic Effexor XR purchases
        identified above:



Were the Effexor XR or generic Effexor XR purchases identified above made using some form of insurance benefit
that covered some of the costs of those purchases? Yes _______ No _______ (Please check one.)


Section D: Claim Documentation and Disputes Regarding Claim Amounts
You may file a claim by providing the information requested in Sections A, B, and C and completing the
Certification in Section E, below.
You should also submit any of the following acceptable documents to support your claim:
    1) Records from your pharmacy or insurer showing that you purchased Effexor XR or generic versions of
       Effexor XR at least once;
    2) A note from your doctor (or records) describing the amount of Effexor XR or generic versions of Effexor

     QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTSETTLEMENT.COM                PAGE 4 OF 7
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       XR you were prescribed;                 PageID: 14338
    3) An explanation of benefits (“EOB”) from your health plan or insurer describing transactions in Effexor
       XR or generic versions of Effexor XR; and/or
    4) Other records showing purchases of Effexor XR or generic versions of Effexor XR, in the Class States, at
       any time during the period from June 14, 2008 through May 31, 2011, including but not limited to receipts,
       checkbook entries, and credit-card statements.
Note: You must submit documentation of your purchases and complete the certification below. If you do not
provide documentation, the Claims Administrator will ask for additional claim documentation after you submit
your Claim Form, so please keep all records of your purchases, such as receipts, checkbook entries, credit-card
statements, and insurance EOBs. Claims may be selected for audit and rejected because of fraud concerns or
potentially inaccurate amounts based on expected average purchases.
If the Claims Administrator rejects or reduces your claim and you believe the rejection or reduction is in error, you
may contact the Claims Administrator to request further review. If the dispute about your claim cannot be resolved
by the Claims Administrator and Class Counsel, you may ask the Court to review your claim.
To request Court review, you must send the Claims Administrator a signed written statement (a) stating your
reasons for contesting the rejection or payment determination regarding your claim; and (b) specifically stating
that you “request that the Court review the determination regarding this claim.” You must include all
documentation supporting your argument(s). The Claims Administrator and Class Counsel will present the dispute
to the Court for review, which may include one or more public filings with the Court describing the dispute and
arguments concerning it. Personal medical data and history relating to the dispute, however, will be filed under
seal to preserve confidentiality. Please note that Court review should be sought only if you disagree with the Claims
Administrator’s determination regarding your claim.
 Section E: Certification
By signing below, I hereby swear and affirm that I have read and am familiar with the content of the instructions
accompanying this Claim Form. I certify that the information I provided in this Claim Form and in any documents
attached by me are true, correct, and complete to the best of my knowledge.
I certify further that I, or the consumer Class Member I represent, purchased, paid, and/or provided reimbursement
for some or all of the purchase price of the cost of Effexor XR or generic versions of Effexor XR for personal
consumption or consumption by family member(s), from June 14, 2008 through May 31, 2011, where the drug was
purchased in a pharmacy in Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan, Minnesota,
Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode Island,
South Dakota, Tennessee, West Virginia, and Wisconsin, or received in one of those Class States by mail-order
prescription.
I also certify that I, or the Class Member(s) I represent, did not ask to be excluded (“opt out”) from the Class in the
Teva Settlement and did not purchase Effexor XR or generic versions of Effexor XR for purposes of resale (not
for personal use). In addition, I am not (or the represented Class Member is not) among the persons or entities that
have been excluded from the Class, which are listed above in Section B.
I further certify that I have provided all of the information requested above to the extent I have it.
I further certify that I, and the Class Member(s) I represent, have read and are familiar with the releases stated in
Paragraph 12 of the Settlement Agreement. The releases in that Paragraph provide as follows:
  a) Upon the occurrence of the Effective Date as defined in Paragraph 6 hereof, and in consideration for the
     Settlement Fund Amount described in this Settlement Agreement, Indirect Purchaser Plaintiffs and the
     Indirect Purchaser Class—except those who requested exclusion from the Indirect Purchaser Class and
     whose request was approved by the Court—on behalf of themselves and their respective past and present
     parents, subsidiaries, and affiliates, general and limited partners, officers, directors, employees, agents,
     attorneys, servants, predecessors, successors, heirs, executors, administrators, and representatives (the
     “Releasing Parties”), shall release and forever discharge, and covenant not to sue Teva and its respective
    QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTSETTLEMENT.COM                 PAGE 5 OF 7
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   past, present, and future parents, subsidiaries,   divisions,
                                                PageID:  14339 affiliates, joint ventures, stockholders, general
   partners, limited partners, officers, directors, management, supervisory boards, insurers, employees, agents,
   servants, trustees, associates, attorneys, and any of their legal representatives (and the predecessors,
   successors, heirs, executors, administrators, and assigns of each of the foregoing) (the “Released Parties”),
   with respect to any and all past, present, or future liabilities, claims, demands, obligations, suits, damages,
   penalties, levies, executions, judgments, debts, charges, actions, or causes of action, at law or in equity,
   whether class, individual, or otherwise in nature, and whether known or unknown, arising out of or relating
   to any conduct, events, or transactions, prior to the date of preliminary approval of this Settlement
   Agreement, (a) alleged, or which reasonably could have been alleged, in the Indirect Purchaser Class Action
   concerning the alleged anticompetitive scheme to prevent and delay approval and market entry of AB-rated
   generic equivalents of Effexor XR, or (b) concerning end-payor purchases of Effexor XR and/or its AB-
   rated generic equivalents in the Class States and arising under the Sherman Act, 15 U.S.C. §§ 1 & 2, et seq.,
   or any other federal or state statute or common-law doctrine relating to antitrust or consumer protection
   (collectively, the “Released Claims”). Upon the Effective Date, the Releasing Parties will be forever barred
   and enjoined from commencing, instituting, prosecuting, or continuing to prosecute any action or other
   proceeding in any forum whatsoever, including any court of law or equity, arbitration tribunal, or
   administrative forum, asserting the Released Claims against the Released Parties.
b) In addition, Indirect Purchaser Plaintiffs, on behalf of themselves and all other Releasing Parties, hereby
   expressly waive, release, and forever discharge, upon the Settlement becoming final, any provisions,
   rights, and benefits conferred by Section 1542 of the California Civil Code, which reads:

           Section 1542. General Release; extent. A general release does not extend to claims that the creditor
           or releasing party does not know or suspect to exist in his or her favor at the time of executing the
           release and that, if known by him or her, would have materially affected his or her settlement with
           the debtor or released party; or by any law of any state or territory of the United States or other
           jurisdiction, or principle of common law, which is similar, comparable, or equivalent to Section 1542
           of the California Civil Code. The Releasing Parties may hereafter discover facts other than or
           different from those which he, she, or it knows or believes to be true with respect to the claims which
           are the subject matter of this Paragraph 12, but each Releasing Party hereby expressly waives and
           fully, finally, and forever settles, releases, and discharges, upon this Settlement becoming final, any
           known or unknown, suspected or unsuspected, asserted or unasserted, contingent or non-contingent
           claim that would otherwise fall within the definition of Released Claims, whether or not concealed
           or hidden, without regard to the subsequent discovery or existence of such different or additional
           facts.
c) Reservation of Claims. The Releasing Parties intend by this Settlement Agreement to release only Teva
   and the Released Parties with respect to the Released Claims. The Releasing Parties specifically do not
   intend this Settlement Agreement, or any part hereof or any other aspect of the proposed Settlement
   Agreement, to compromise or otherwise affect in any way any rights the Releasing Parties have or may
   have against any other person, firm, association, company, or corporation whatsoever, including Wyeth.
   The release set forth in this Paragraph 12 is not intended to and shall not release any claims other than the
   Released Claims.
d) This Settlement is not intended to and does not release claims arising in the ordinary course of business
   between the Releasing Parties and the Released Parties that are unrelated to the allegations in the Indirect
   Purchaser Class Action, such as claims under Article 2 of the Uniform Commercial Code (pertaining to
   Sales), the laws of negligence or product liability or implied warranty, breach of contract, breach of
   express warranty, or personal injury.
 QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTSETTLEMENT.COM               PAGE 6 OF 7
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                                                 PageID: 14340
To the extent a consumer Class Member authorized me to submit this Claim Form on their behalf and I am
submitting this Claim Form as an authorized agent, and to the extent I have been authorized to receive any and all
amounts from the Teva Settlement that may be allocated to this consumer Class Member on their behalf, I certify
that such authority has been properly vested in me and that I will fulfill all duties I may owe the consumer Class
Member. If amounts from the Teva Settlement are distributed to me, and a consumer Class Member later claims I
did not have the authority to claim and/or receive those amounts on their behalf, I and/or my employer will hold
the Class, Class Counsel, and the Claims Administrator harmless with respect to any claims made by the consumer
Class Member.
I hereby submit to the jurisdiction of the United States District Court for the District of New Jersey for all purposes
connected with this Claim Form, including resolving disputes related to this Claim Form. I acknowledge that if I
provided any false information or representations related to this claim, I may be subject to sanctions, including
criminal prosecution. If the Claims Administrator requests additional supporting documents to supplement this
Claim Form and the information in it, I agree to provide them.

I certify that the above information supplied by the undersigned is true and correct to the best of my
knowledge, and this Claim Form was signed on ____________________ 2025.

Signature                                                    Print or Type Name


Mail your completed Claim Form, along any available documents supporting your claim, to the address below,
postmarked no later than [Month 00, 2025] or submit the information online at the website below by that date:
                                  Effexor XR Indirect Purchaser Settlement
                                              c/o A.B. Data, Ltd.
                                               P.O. Box 173005
                                             Milwaukee, WI 53217
                                     Toll-Free Telephone: 1-877-933-2882
                               Website: www.EffexorXRIndirectSettlement.com

                                         REMINDER CHECKLIST:
   1. Please complete and sign the above Claim Form or complete the online Claim Form. Attach or upload
      any documents supporting your claim.
   2. Keep a copy of your Claim Form and supporting documents for your records.
   3. If you would also like a receipt acknowledging your Claim Form was received, please complete the form
      online or mail this form via Certified Mail, Return Receipt Requested.
   4. If you move and/or your name changes, please send your new address and/or your new name or contact
       information to the Claims Administrator at info@EffexorXRIndirectSettlement.com or via U.S. Mail at
       the address above.




    QUESTIONS ? C ALL 1-877-933-2882 OR V ISIT WWW.EFFEXORXRI NDIRECTSETTLEMENT.COM                 PAGE 7 OF 7
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                        EXHIBIT G
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 In re Effexor XR Antitrust Litigation                       Civil Action No. 3:11-cv-05661
                                                             (ZNQ) (JBD)
  THIS DOCUMENT RELATES TO:                                  Master Docket No. 3:11-cv-05479
                                                             (ZNQ) (JBD)
  All Indirect Purchaser Class Actions


     DECLARATION OF ELAINE PANG OF A.B. DATA, LTD. IN SUPPORT OF
   INDIRECT PURCHASER PLAINTIFFS’ MOTION TO APPROVE NOTICE PLAN


I, Elaine Pang, being duly sworn, certify as follows:

       1.      I am the Vice President of Media with A.B. Data, Ltd.’s Class Action Administration

Company (“A.B. Data”). I submit this Declaration at the request of Class Counsel in connection

with the above-captioned action (the “Action”).

       2.      A.B. Data was appointed by the Court to act as the Claims Administrator in this

Action and recently completed the Court-approved notice plan informing potential Class Members

about the Indirect Purchaser Plaintiffs’ settlement with Wyeth (also known as Wyeth LLC and

formerly known as Wyeth, Inc. and American Home Products); Wyeth Pharmaceuticals, Inc.;

Wyeth-Whitehall Pharmaceuticals; and Wyeth Pharmaceuticals Company (“Wyeth”).

       3.      I previously submitted a declaration executed on April 25, 2024 (“Declaration of

Elaine Pang of A.B. Data in Support of Indirect Purchaser Plaintiffs’ Motion to Approve Notice

Plan”) outlining my and A.B. Data’s credentials and describing the previous Court-approved notice

plan in this Action.

       4.      This Declaration is based upon my personal knowledge and upon information

provided by Class Counsel, my associates, and A.B. Data staff members. The methods and tools
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used in developing the Notice Plan are of a type reasonably relied upon in the fields of media,

advertising, and communications.

        5.      This Declaration summarizes the proposed Notice Plan for the proposed Settlement

with Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries Ltd. (“Teva”). The

proposed Notice Plan, attached as Exhibit A, is similar to the notice plan previously effectuated in

the notice and administration of the prior settlement with Wyeth. Class Members received a round

of notice about the prior settlement in this Action and will receive information about the new

proposed Settlement with Teva via direct notice, paid media (digital and social media), and earned

media. The proposed Notice Plan is designed to meet Rule 23 of the Federal Rules of Civil

Procedure and due process requirements. The objective of this Notice Plan is to provide notice to

the Indirect Purchaser Class (“Class Members”), generally defined as follows:

               All persons or entities in Arizona, California, Florida, Kansas, Maine,
               Massachusetts, Michigan, Minnesota, Mississippi, Montana, Nevada, New
               Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode Island, South
               Dakota, Tennessee, West Virginia, and Wisconsin (the “Class States”) who
               purchased, paid, and/or provided reimbursement for Effexor XR or AB-rated generic
               versions of Effexor XR for consumption by themselves, their families, or their
               members, employees, insureds, participants or beneficiaries, from June 14, 2008
               through May 31, 2011 (the “Class Period”). For purposes of the Indirect Purchaser
               Class definition, persons or entities “purchased” Effexor XR or its generic versions
               if they paid or reimbursed some or all of the purchase price. 1

        6.      The Notice Plan is designed to reach two different types of Class Members: (a)

consumers and (b) third-party payors (“TPPs”), such as health and welfare funds and insurance

companies. A.B. Data’s approach to reach these two groups are discussed below.



1
  Certain persons and entities are excluded from the Settlement Class, namely: 1) Wyeth and Teva and
their respective subsidiaries and affiliates; (2) State and local governments to the extent their claims may
be asserted under applicable state law only by the state Attorney General, or are otherwise prohibited by
applicable law from being asserted by private counsel on a contingent fee basis; (3) all persons or entities
who purchased Effexor XR or its generic equivalent for purposes of resale or directly from Wyeth, Teva,
or their affiliates; (4) fully insured health plans (i.e., Plans that purchased insurance from another third-
party payor covering 100% of the Plan’s reimbursement obligations to its members); (5) pharmaceutical
benefit managers; and (6) the judges in this case and any members of their immediate families.



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                                     Consumer Direct Notice

       7.      Direct notice will be sent using contact information for consumer Class Members

who submitted claims in the prior settlement with Wyeth.

       8.      A.B. Data will send the Short-Form Notice approved by the Court, formatted as an

email (“Email Notice”), to Class Members who submitted claims in the prior settlement with Wyeth

and for whom a valid email address is available. The Email Notice will include a link that allows

recipients to visit the settlement website for additional information.

       9.      Prior to emailing, A.B. Data will perform several tasks to maximize deliverability.

These tasks include running the list of recipient email addresses through a deliverability analysis to

ensure the email addresses are valid and working with our email service providers to develop

sending strategies to achieve optimal deliverability. A.B. Data will also incorporate best practices,

such as excluding words or phrases known to trigger SPAM or junk filters, not including email

attachments, and sending the emails in tranches over a period of time.

       10.     A.B. Data will send the Short-Form Notice approved by the Court, formatted as a

postcard (“Postcard Notice”), via First-Class Mail to Class Members who submitted potentially

valid claims in the prior settlement with Wyeth and for whom only a known mailing address is

available or whose email addresses are determined to be invalid.

       11.     Prior to mailing, A.B. Data will standardize and update all mailing addresses through

the United States Postal Service’s (“USPS”) national change of address database. For Class

Members with a registered change of address, A.B. Data will mail a Postcard Notice to the updated

mailing address provided by the USPS. For any Postcard Notices returned by the USPS as

undeliverable as addressed (“UAA”) with a forwarding address, A.B. Data will promptly remail the

Postcard Notices to the forwarding address. For any UAA Postcard Notices returned with no




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forwarding address provided, A.B. Data will search for an updated address using an information

provider. If an updated address is available, A.B. Data will promptly remail the Postcard Notice to

the updated address.

                                     Consumer Target Audience

        12.     As described in my previous declaration, A.B. Data reviewed how Effexor and

Effexor XR were used and the circumstances under which this medication was prescribed to

patients to develop the target audience for consumers and determine which media options should

be considered for this case. Our research included reviewing the Effexor and Effexor XR 2 labels

and prescribing information. This prescribed medication is used to treat major depressive disorder,

generalized anxiety disorder, social anxiety disorder, and panic disorder.

        13.     A.B. Data then examined the latest 2024 syndicated data from a nationally

accredited resource, MRI-Simmons 3, for adults in the United States who have used Effexor or

Effexor XR to update the target audience’s demographics. It was determined that the target audience

for this medication has the following characteristics:

          •   Men – 34.5%; Women – 65.5%




2
     Food     and     Drug      Administration,    Effexor     (venlafaxine     hydrochloride)    label,
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/020151s059lbl.pdf and Food and Drug
Administration,    Label     for   Effexor      XR    (venlafaxine     Extended    Release     capsule),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2017/020699s107lbl.pdf (last visited March 14,
2025).
3
  MRI Simmons Survey of the American Consumer is the country’s largest, most comprehensive, and most
reliable consumer and media and product/service usage database. Data from the Survey of the American
Consumer, conducted continuously since 1979, is used in the majority of media and marketing plans written
in the United States. The firm’s multidimensional database is the largest and most reliable source for
integrated media planning. About 450 U.S. advertising agencies, including 90 of the top 100, subscribe to
MRI Simmons Research, along with A.B. Data and more than 200 national marketers. MRI Simmons offers
the most detailed and representative picture of U.S. demographics and lifestyles, including information on
usage of nearly 6,000 product and service brands across 550 categories, the magazines and newspapers
audiences read, the websites they look at, the radio stations they listen to, and the television programs they
watch.



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          •   Median Age – 52.4

          •   Median Household Income - $71,471

        14.     Based on the MRI-Simmons demographic data, we again selected adults aged 25

years of age or older (“Adults 25+”) as the buying target audience for the Notice Plan, with an

emphasis on women.

        15.     The members of the Indirect Purchaser Class are numerous and geographically

dispersed across the United States. Notice will be targeted first to the Class States and then

nationwide to reach those who may have relocated. As further detailed in the Notice Plan, the media

portion of the Notice Plan was designed to ensure notice would be placed in media outlets likely to

reach the buying target audience.

                                             Digital Media

        16.     Digital media is included in the Notice Plan to reach potential consumer Class

Members. Internet advertising allows the viewer to click on a banner advertisement (“banner ad”)

and instantly be directed to the settlement website to file a claim and/or obtain additional

information about their rights.

        17.     At least 236 million gross impressions 4 will be delivered across multiple devices,

including desktop, tablet, and mobile to the target audience within the Class States and nationally.

Banner ads will appear on a variety of websites for 30 days to allow ample time to deliver the

targeted impressions.

        18.     Banner and newsfeed ads will be placed in premium positions, so they can be viewed

without scrolling and are easily seen when viewers first open the website page, electronic

communication, or application. All digital and social media ads will include images appropriate for


4
 Gross (targeted) impressions are the duplicated sum of audiences of all media vehicles containing the
notice.



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this case to increase the ad visibility and an embedded link to make it easy for viewers to click-

through to the case-specific settlement website. Consumer and TPP banner ad examples are

included in the attached Notice Plan (Exhibit A).

       19.     Targeted digital advertising may be used to reach potential Class Members and

include the following strategies:

  Strategy                             Rationale

  Demographic                          Target a heavier concentration of women because they
                                       are more likely to purchase this medication.
  Mobile – In-App                      Target individuals while they are using relevant mobile
                                       applications. Mobile applications could include health
                                       and medical apps, game apps, weather apps, or
                                       entertainment/cooking apps.
  Mobile – Websites                    Target phones and tablets whose users are visiting
                                       websites that are contextually relevant and websites being
                                       visited by relevant users.
  Contextual Targeting                 Target individuals who visit websites with relevant
                                       content and context, such as those that provide health,
                                       medical, and lifestyle information.
  Behavioral Targeting                 Target users based on their previous online browsing
                                       activity (e.g., if a user views or searches content related
                                       to Effexor on WebMD.com, a data profile with that
                                       information is created and targeted ads are served to
                                       them).
  Predictive (Look-Alike) Modeling     Use look-alike modeling to target user IDs whose owners
                                       have strong similarities to users who have previously
                                       “clicked through” to the settlement website.

                                        Social Media

       20.     To further engage with potential Class Members, newsfeed ads will be purchased on

Facebook, Instagram, and YouTube. Impressions served to social-media users can be highly

targeted, specifically reaching those who have expressed an interest in information relevant to the

case. Targeting strategies allow us to reach potential Class Members tactically and encourage them




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to visit the settlement website. The case-specific Facebook page will also continue to serve as a

landing page for the links in the Facebook and Instagram newsfeed ads.

                                 Keyword Search Sponsorships

          21.   To make it easy for potential Class Members to locate the settlement website,

sponsored search listings will be acquired on Google, the most highly visited search engine, and/or

other search partners. When identified target phrases and keywords are used in search engines,

relevant links appear on the search result pages. Sample keyword terms or phrases may include

“Effexor,” “Effexor XR,” “depression,” “anxiety disorder,” “Effexor XR Settlement,” plus many

others.

                                      Targeted TPP Notice

          22.   Direct notice and supplemental media will be used to reach TPP Class Members.

          23.   A.B. Data maintains and updates annually a proprietary database of approximately

43,000 entities that include: (i) insurance companies; (ii) health maintenance organizations; (iii)

self-insured entities such as large corporations, labor unions, and employee benefit and pension

plans; and (iii) certain record keepers and other entities that have relationships with or may

represent TPPs, such as pharmacy benefit managers and third-party administrators (the “TPP

Database”).

          24.   The Postcard Notice will be sent via First-Class Mail to the entire TPP database.

Postcard Notices will also be mailed to TPP Class Members who submitted claims in the prior

settlement with Wyeth and for whom only a known mailing address is available or whose email

addresses are determined to be invalid. In addition, A.B. Data will send the Email Notice to

potential TPP Class Members with available email addresses.




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       25.     In addition to direct notice, TPP customized banner ads will appear one time in e-

newsletters to subscribers of the following industry-related websites:

       a.      ThinkAdvisor.com/life-health

       b.      BenefitNews.com

       c.      SHRM.org

The TPP banner ads will include an embedded link to the settlement website.

                                          Earned Media

       26.     In addition to the direct notice and paid media, A.B. Data will distribute a news

release via PR Newswire’s US1 Newsline to help the settlement gain more attention from the media

and potential Class Members. The news release will reach traditional media outlets (television,

radio, newspapers, magazines), news websites, and journalists nationwide.

       27.     News about the settlement will also be broadcast to the news media via X. It will be

tweeted from PR Newswire’s and A.B. Data’s X accounts to thousands of media outlets, journalists,

and other followers.

                                  Toll-Free Telephone Number

       28.     A.B. Data will update and maintain the case-specific toll-free telephone number to

support the Action, with live operators available during business hours. Services include the

following:

       a.      Inbound toll-free line;

       b.      Interactive-voice-response system;

       c.      Live operators during business hours;

       d.      Call scripts developed by our experts; and

       e.      Detailed reporting.




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                                          Case Website

       29.     The dedicated informational case website will be updated to ensure Class Members

can easily access current information about the Action and proposed Settlement. The website

provides, among other things, a summary of the case and Class Member rights and options, relevant

documents, Claim Forms and the ability to submit a claim online, important dates, and any pertinent

updates concerning the Action.

                        Form and Content of Notice and Claim Forms

       30.     A detailed Long-Form Notice, Short-Form Notice, and Claim Forms will be

available on the settlement website. The Notices include all required information about Class

Members’ rights and options and comply with the requirements for notices in the Federal Rules of

Civil Procedure Rule 23.

       31.     A Short-Form Notice will be used to provide notice of the proposed Settlement by

direct mail and in a press release. The Short-Form Notice provides a clear, plain-language summary

of the litigation, the proposed Settlement, and Class Members’ rights and options. The Short-Form

Notice also includes the settlement website address and toll-free telephone number, so Class

Members can obtain additional details about the case and background information about the Action.

       32.     A Court-approved, detailed Long-Form Notice will be available on the case website

and includes more detailed information about the Action and how Class Members can act on their

rights and options, including how Class Members who did not do so previously can submit claims

online or via mail. The Long-Form Notice is also written in plain language, contains all necessary

information, and uses a question-and-answer format to make it easier for potential Class Members

to find and understand the relevant information.




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                                 Claims Administration Process

         33.   When administering the allocation and distribution of class action recoveries, A.B.

Data implements a claims process to verify whether those filing claims are in fact class members

and ensure that class members receive the recovery to which they are entitled under a Court

approved plan of allocation and distribution.

         34.   A.B. Data has extensive experience ensuring that recoveries are distributed to

eligible claimants in accordance with the terms of the applicable plan of allocation, including taking

steps to ensure that entities that are not a part of the class and/or are precluded from recovering do

not receive a payment from the settlement or judgment. To do so, A.B. Data uses straightforward

claims administration techniques that it has successfully employed in many pharmaceutical antitrust

cases.

         35.   Class Members who wish to be potentially eligible to receive a payment from the

Settlement are required to complete and submit a properly executed and detailed claim form along

with any required supporting documents either by mail or online through the case website no later

than the claims submission deadline established by the Court.

         36.   A.B. Data will review each Claim Form upon receipt to verify that all required

information was provided and is accurate. Supporting documents provided with each Claim Form

will be reviewed for authenticity and compared to the information provided to verify the claimant’s

identity and the purchasing information. A.B. Data will process each Claim in accordance with the

Court-approved Settlement Agreement, Plan of Allocation, and/or relevant Court orders.

         37.   If a claim is determined to be defective, A.B. Data will send a deficiency notification

to the claimant, via letter or email, that describes why the claim is deficient, including, where

applicable, what is necessary to cure the deficiency. A claim may be marked as deficient if it is




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missing documentation or required information or includes ineligible drugs, among other

conditions. It will also advise claimants how much time they have to submit the appropriate

information and/or documentary evidence to complete/cure their claim. If the claimant does not

cure the deficiency in their claim, the claim will be recommended for rejection (in whole or in part).

The deficiency notification will also advise claimants of their right to contest A.B. Data’s

administrative determination with respect to their claim.

        38.     If a claim is determined to be ineligible, A.B. Data will send an ineligibility

notification to the claimant, via letter or email, that describes why the claim is ineligible. A claim

may be marked as ineligible because it is duplicative of a previously filed claim (for example, where

a claim was submitted online to A.B. Data and the original hard copy was sent by mail and received

at a later date), submitted by an excluded person or entity, or withdrawn by the filer.

        39.     After A.B. Data has fully processed the claims (and responses to deficiency

notifications), performed quality assurance reviews, and made final administrative determinations

as to which claims are valid, A.B. Data will present its administrative report on the claims received

for the Settlement to the Court, along with a proposed plan for distribution. Thereafter, upon Court

approval, A.B. Data will distribute the net Settlement proceeds to eligible Class Members.

                                              Conclusion

        40.     It is my opinion that the proposed Notice Plan uses a strategic and contemporary

method to deploy notice to the Class and is adequate and reasonable to effectively reach 5 Class

Members. A.B. Data estimates that this comprehensive multi-channel approach, including direct

notice, paid media (digital and social media advertising), and earned media efforts focused on

consumer and TTP Class Members, will reach well over 70.5% of the target audience. The proposed


5
 Reach is the estimated percentage of a target audience reached through a specific media vehicle or
combination of media vehicles.



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Notice Plan provides a reach similar to those approved by other courts and within the range

recommended and considered reasonable by the Federal Judicial Center’s Judges’ Class Action

Notice and Claims Process Checklist and Plain Language Guide. 6 The Notice Plan is, in my

opinion, the best practicable approach to reach Class Members and fully complies with Rule 23 of

the Federal Rules of Civil Procedure.



I declare under penalty of perjury that the foregoing is true and correct.
Executed this 14th day of March, 2025.




__________________________________
Elaine Pang




6
  The Judges’ Class Action Notice and Claims Process Checklist and Plain Language Guide states: “The
lynchpin in an objective determination of the adequacy of a proposed notice effort is whether all the notice
efforts together will reach a high percentage of the class. It is reasonable to reach between 70-95%.”



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                A.B. Data, Ltd.
                Class Action Administration Company
                600 A.B. Data Drive
                Milwaukee, WI 53217




  Proposed Notice Plan

   In re Effexor XR Antitrust Litigation
   Master Docket No. 3:11-cv-05479 (D.N.J.)
   March 14, 2025
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APPENDICES



APPENDIX A                  MRI Data Audience Demographic – Used Effexor or Effexor XR
                            prescription brand in the last 12 months

APPENDIX B                  MRI Data Media Quintiles – Used Effexor or Effexor XR prescription
                            brand in the last 12 months

APPENDIX C                  MRI Data Digital Media, Websites and Social Media Usage – Used
                            Effexor or Effexor XR prescription drugs




                                                                                                                                      2
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                    CASE BACKGROUND AND CLASS DEFINITION
This proposed Notice Plan is being submitted by A.B. Data, Ltd. (“A.B. Data”) in connection with a
settlement (the “Settlement”) reached in In re Effexor XR Antitrust Litigation, a case in the United States
District Court for the District of New Jersey (the “Court”). The proposed Settlement is between the
Indirect Purchaser Plaintiffs and Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries
Ltd. (“Teva”).

Previously, A.B. Data designed and completed the Court-approved notice plan for the settlement with
Wyeth (also known as Wyeth LLC and formerly known as Wyeth, Inc. and American Home Products);
Wyeth Pharmaceuticals, Inc.; Wyeth-Whitehall Pharmaceuticals; and Wyeth Pharmaceuticals
Company (“Wyeth”).

Indirect Purchaser Plaintiffs claim that Teva and Wyeth unlawfully prevented and delayed the approval
and marketing of generic versions of Effexor XR. The Indirect Purchaser Plaintiffs allege that, as a
result, consumers and third-party payors (“TPPs”) paid more for Effexor XR and its generic equivalents
than they should have.

The “Indirect Purchaser Class” or “Class” is defined as follows:

      All persons or entities in Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan,
      Minnesota, Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North
      Carolina, Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and Wisconsin (the
      “Class States”) who purchased, paid, and/or provided reimbursement for Effexor XR or AB-rated
      generic versions of Effexor XR for consumption by themselves, their families, or their members,
      employees, insureds, participants or beneficiaries, from June 14, 2008 through May 31, 2011 (the
      “Class Period”). For purposes of the Indirect Purchaser Class definition, persons or entities
      “purchased” Effexor XR or its generic versions if they paid or reimbursed some or all of the
      purchase price. 1

This document outlines the efforts that will be made to provide Settlement notice to potential members
of the Indirect Purchaser Class, referred to hereafter as “Class Members.”

Although Indirect Purchaser Plaintiffs do not know the exact number of Class Members, it is believed
they number in the millions. In these circumstances, direct notice to all Class Members is impracticable,
and a paid media plan targeting unidentified Class Members is necessary. Notice will be provided via
direct notice (to Class Members who previously filed a claim), paid media (digital and social media),
and earned media as described below.




1
  Certain persons and entities are excluded from the Settlement Class, namely: 1) Wyeth and Teva and their
respective subsidiaries and affiliates; (2) State and local governments to the extent their claims may be asserted
under applicable state law only by the state Attorney General, or are otherwise prohibited by applicable law from
being asserted by private counsel on a contingent fee basis; (3) all persons or entities who purchased Effexor XR
or its generic equivalent for purposes of resale or directly from Wyeth, Teva, or their affiliates; (4) fully insured
health plans (i.e., Plans that purchased insurance from another third-party payor covering 100% of the Plan’s
reimbursement obligations to its members); (5) pharmaceutical benefit managers; and (6) the judges in this case
and any members of their immediate families.

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                                  NOTICE PLAN OVERVIEW
This document outlines the process for providing direct and publication notice of the proposed
Settlement with Teva to potential Class Members (the “Notice Plan”). This proposed Notice Plan was
designed to meet the requirements set forth in Rule 23 of the Federal Rules of Civil Procedure and due
process.

                                      Notice Plan Components
Previously, A.B. Data implemented a notice plan providing notice to Class Members about the prior
settlement with Wyeth. Class Members who previously filed a claim in connection with the Wyeth
Settlement will receive information about the proposed Settlement with Teva via direct notice, and
notice will be provided to all Class Members via paid and earned media as described herein.

As described in the previous notice plan, A.B. Data determined the demographics of the population
using the various Effexor formulations, i.e., Effexor immediate-release (“Effexor”) and Effexor
extended-release (“Effexor XR”) to develop the target audience and determine which media options
should be considered for this case. A.B. Data reviewed how Effexor and Effexor XR were used and the
circumstances under which this medication was prescribed to patients. Our research included reviewing
the Effexor and Effexor XR labels and prescribing information. 2 This medication is used to treat major
depressive disorder, generalized anxiety disorder, social anxiety disorder, and panic disorder.

A.B. Data then examined the latest 2024 demographic data from the nationally accredited resource,
MRI-Simmons 3 to update the potential Class Member demographics and select the target audience that
best encompasses the Class Members. We reviewed data for adults who used the prescription drug
Effexor or Effexor XR (“Effexor users”). Effexor users have the following characteristics:

     •   Men – 34.5%
     •   Women – 65.5%
     •   Age 25+ – 93.4%
     •   Homeowners – 70.2%
     •   Household Income of $50K+ - 64.1%


2
      Food      and     Drug     Administration,      Effexor     (venlafaxine    hydrochloride)     label,
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/020151s059lbl.pdf;      Food        and     Drug
Administration,     Label    for    Effexor      XR      (venlafaxine    Extended     Release     capsule),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2017/020699s107lbl.pdf; Viatris Specialty LLC, Effexor
XR® (Venlafaxine HCI), https://www.effexorxr.com; WebMD, Effexor Tablet - Uses, Side Effects, and More,
https://www.webmd.com/drugs/2/drug-1836/effexor-oral/details;         and       Drugs.com,         Effexor,
www.drugs.com/effexor.html.
3
  MRI Simmons Survey of the American Consumer is the country’s largest, most comprehensive, and most
reliable consumer and media and product/service usage database. Data from the Survey of the American
Consumer, conducted continuously since 1979, is used in the majority of media and marketing plans written in
the United States. The firm’s multidimensional database is the largest and most reliable source for integrated
media planning. About 450 U.S. advertising agencies, including 90 of the top 100, subscribe to MRI Simmons
Research, along with A.B. Data and more than 200 national marketers. MRI Simmons offers the most detailed
and representative picture of U.S. demographics and lifestyles, including information on usage of nearly 6,000
product and service brands across 550 categories, the magazines and newspapers audiences read, the websites
they look at, the radio stations they listen to, and the television programs they watch.
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Based on the demographic information provided within MRI-Simmons, A.B. Data again selected adults
aged 25 years of age or older (“Adults Age 25+”) as the primary buying target audience, with an
emphasis on women, to ensure the notice reaches those that have used the prescription medication
Effexor or Effexor XR and their generic equivalents.

Notice will be targeted first to the Class States and then nationwide to reach those who may have
relocated. The components of the proposed Notice Plan are as follows:

    Direct Notice (Consumers)
    Vehicle                             Unit                                 Estimated Quantity
                                                                             5,000 Postcards
    Direct Notice                       Postcard/Email
                                                                             25,000 Emails
    Digital and Social Media

    Audience             Ad Unit             Placement         Networks                 Estimated Gross
                                                                                        Impressions 4
    Effexor/Effexor      Banner Ads,         Mobile; In-       Google Display      236 million
    XR Users             Newsfeed Ads,       App,              Networks,           impressions
                         Google Search       Desktop,          YouTube,
    Adults 25+           (AdWords)           Tablet            Facebook/Instagram,
                         and/or other                          Google AdWords
                         search partners

    Earned Media
    Press Release distributed via PR Newswire’s US1 National Newsline and
    Tweet to PR Newswire and A.B. Data followers.

    TPP Notice & Media
    Vehicle            Unit                    Website                         Quantity/Timing
    Direct Notice      Postcard/                                               ~43,000 postcards
                       Email                                                   ~1,500 emails
    Digital media      E-Newsletter            • ThinkAdvisor.com/life-        One time in each e-newsletter
                       (Banner) ads              health
                                               • BenefitNews.com
                                               • SHRM.org


The paid media (digital and social media) and earned media vehicles are all specifically targeted to
reach unidentified potential Class Members. The dedicated informational case-specific settlement
website, Facebook page, and toll-free telephone number will also be updated to complement the
proposed Notice Plan and ensure Class Members can easily access current information. Detailed
information about each component of the proposed Notice Plan and how it covers the target audience
is included below.



4
    Gross impressions are the duplicated sum of audiences of all media vehicles containing the notice.
                                                                                                               5
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                                    Delivery and Due Process
A.B. Data media professionals used Comscore, 5 MRI-Simmons, and internal tools to calculate the
estimated reach 6 and frequency 7 against the target audience. When combining direct notice and the
paid media and earned media components, the proposed Notice Plan will reach well over 70.5% of the
target audience with an average frequency of 1.4 times.

The methods described below reflect a strategic, highly targeted, and contemporary method to deploy
notice to potential Class Members. This proposed Notice Plan provides a reach and frequency similar
to those approved by other courts and within the 70%-95% range for reach recommended and
considered reasonable by The Federal Judicial Center’s Judges’ Class Action Notice and Claims
Process Checklist and Plain Language Guide. 8

The proposed Notice Plan, described in this document, is consistent with other notice plans developed
and implemented by A.B. Data for other pharmaceutical cases, including the methods and tools used
to develop such plans. The proposed Notice Plan is also similar to the notice plan previously approved
and effectuated in this case.

Previous A.B. Data notice plans that have been court-approved include the following pharmaceutical
cases:
        •   In re Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litigation, MDL
            No. 2445, 13-md-2445 (E.D. Pa. Dec. 5, 2023);
        •   In re Opana ER Antitrust Litigation, No. 1:14-cv-10150 (N.D. Ill. Sept. 23, 2021);
        •   In re EpiPen Marketing, Sales Practices and Antitrust Litigation, Civil Action No. 2:17-
            md-02785 (D. Kan. Mar. 11, 2022);
        •   In Re Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litigation, No. 18-md-2819
            (E.D.N.Y. Jan. 18, 2022);
        •   The Hosp. Auth. of Metro. Gov’t. of Nashville & Davidson Cnty. v. Momenta Pharmas.,
            Inc., No. 15-cv-01100 (M.D. Tenn. May 29, 2020);
        •   In re Loestrin 24 FE Antitrust Litigation, No. 1:13-md-2472 (D.R.I. March 23, 2020);
        •   In re Aggrenox Antitrust Litigation, No. 3:14-md-02516 (D. Conn. July 19, 2018);
        •   In re Solodyn Minocycline Hydrochloride All End-Payor Actions, No. 14-md-2503 (D.
            Mass. November 29, 2017);
        •   Vista Healthplan, Inc. v. Cephalon, Inc., No. 2:06-cv-01833 (E.D. Pa. April 21, 2020); and

5
  Comscore is a global Internet information provider on which leading companies and advertising agencies rely
for consumer behavior insight and Internet data usage. Comscore maintains a proprietary database of more than
two million consumers who have given Comscore permission to monitor their browsing and transaction
behavior, including online and offline purchasing.
6
   Reach measures the percentage of a target audience that was exposed at least one time to a specific media
message or combination of media messages, whether via print, broadcast, online, outdoor media, etc. within a
given time period.
7
  Frequency is the estimated average number of opportunities an audience member has to see the notice.
8
  The Judges’ Class Action Notice and Claims Process Checklist and Plain Language Guide states: “The
lynchpin in an objective determination of the adequacy of a proposed notice effort is whether all the notice
efforts together will reach a high percentage of the class. It is reasonable to reach between 70-95%.”
                                                                                                            6
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       •    Shannon Mahoney v. Endo Health Solutions, Inc., No. 15-cv-9841 (S.D.N.Y. June 23,
            2017).

The proposed Notice Plan is, in A.B. Data’s experience, the best practicable under the circumstances
for reaching potential Class Members and meets due-process requirements.


                              CONSUMER DIRECT NOTICE
A.B. Data will send an email or mailed notice to consumer Class Members who submitted claims in
the prior settlement with Wyeth.

Where a valid email address is available, the Short-Form Notice, formatted as an email (“Email
Notice”), will be sent to consumer Class Members who submitted claims in the prior settlement with
Wyeth. Prior to emailing, A.B. Data implements certain best practices and performs several tasks to
maximize deliverability. A.B. Data will run the list of recipient email addresses through a
deliverability analysis to ensure the email addresses are valid and work with our email service
providers to develop optimal sending strategies. The subject line, the sender, and the body of the
message will be designed to overcome SPAM or junk filters and encourage readership. The Email
Notice will be in an embedded html text format without attachments and other elements to decrease
the likelihood that the message will be blocked by email service providers. A.B. Data will
programmatically authenticate the Email Notices, so providers can verify that they are being sent
from A.B. Data’s authorized mail servers. The Email Notice will also include an embedded link to
the settlement website, so potential Class Members can easily access frequently asked questions,
important dates and deadlines, and other relevant documents and information about the case.

The Short-Form Notice, formatted as a postcard (“Postcard Notice”), will be sent via First-Class Mail
to consumer Class Members who submitted potentially valid claims in the prior settlement with
Wyeth and for whom only a known mailing address is available or whose email addresses are
determined to be invalid. Prior to mailing, A.B. Data will standardize and update all mailing
addresses through the United States Postal Service’s (“USPS”) national change of address database.
For Class Members with a registered change of address, A.B. Data will mail a Postcard Notice to the
updated mailing address provided by the USPS. For any Postcard Notices returned by the USPS as
undeliverable as addressed (“UAA”) with a forwarding address, A.B. Data will promptly remail the
Postcard Notices to the forwarding address. For any UAA Postcard Notices returned with no
forwarding address provided, A.B. Data will search for an updated address using an information
provider. If an updated address is available, A.B. Data will promptly remail the Postcard Notice to
the updated address.

                      PAID MEDIA PLANNING METHODOLOGY
A.B. Data paid media notice was developed to effectively and efficiently reach class members. It does
the following:

           1. Identifies the class members’ demographics using syndicated and/or peer-reviewed,
              accredited research to establish a primary target audience;
           2. Outlines the methodology for selecting recommended media vehicles, the media
              vehicle’s relationship to product/service purchase, and how the target audience uses
              them; and
                                                                                                        7
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          3. Provides results that quantify for the Court the adequacy of the notice based upon
             recognized tools of media measurement.

The first steps are to determine potential class members’ demographics and define the target audience.
A.B. Data then analyzes media quintile usage data and the ability of each advertising medium to provide
cost-efficient coverage of the target audience to develop the notice plan strategy, i.e., whether
notification is best done through print, online, broadcast, and/or some other methodology or media
vehicle.

For many notice plans, A.B. Data uses reach and frequency as the standard upon which to measure how
effective notice is delivered to a defined target audience. Below are the definitions of these terms as
they relate to paid media.

      •   Reach – measures the percentage of a target audience exposed at least one time to a
          specific media message or combination of media messages—whether via print,
          broadcast, online, outdoor media, etc.—within a given time period.
      •   Frequency – the estimated average number of opportunities a member of the target
          audience has to see the notice during the media campaign.

Analytical tools, provided by Comscore and MRI-Simmons, are used to select the publications and/or
websites and the number of insertions and/or impressions that will be purchased. MRI-Simmons is the
leading supplier of multimedia audience research in the United States. As a nationally accredited
research firm, it presents a single-source measurement of major media, products, services, and
consumer demographic, lifestyle, and psychographic characteristics. Comscore provides detailed
Internet data usage. It is the most trusted platform for planning, transacting, and evaluating digital
media across platforms.

                                    TARGET AUDIENCE
A.B. Data examined the 2024 accredited marketing data from MRI-Simmons for “Adults Who Have
Used the Prescription Brands Effexor or Effexor XR” (“Effexor users”) to confirm the primary target
audience for this case. See Appendix A for the complete results of the syndicated data from MRI-
Simmons regarding this demographic group.

Below is a summary of some of the key demographic statistics for these categories.


                          Demographics                      Effexor Users

               Men                                              34.5%
               Women                                            65.5%
               18-24                                             6.7%
               25-34                                            12.3%
               35-44                                            17.9%
               45-54                                            18.8%
               55-64                                            20.3%
               65+                                              24.1%
               25+                                              93.4%
                                          Education

                                                                                                     8
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                             Demographics                          Effexor Users

                Did Not Graduate High School                            8.5%
                Graduated High School Only                             30.8%
                Attended/Graduated College                             60.7%
                                      Household Income
                Median Household Income                                $71,471
                HHI $100,000+                                           34.3%
                HHI $60,000-$99,999                                     10.9%
                HHI $30,000-$59,999                                     26.2%
                HHI Under $30,000                                       17.7%
                Wage Earner: Sole Earner                                18.6%
                Wage Earner: Primary Earner                             18.5%
                Wage Earner: Secondary Earner                           17.4%
                Not Working/retired                                     71.6%
                                        Marital Status
                Now Married                                            51.2%
                                        Household Size
                Household size 2                                       36.8%
                Household size 3-4                                     30.6%
                Home Owned                                             70.2%
                                      Spanish Language
                Spanish, Hispanic, or Latino Descent                    9.4%
                Spanish Spoken in Home                                  9.2%
                                         County Size 9
                A County                                               31.0%
                B County                                               35.7%
                C County                                               15.1%
                D County                                               18.2%
                                             Race*
                White                                                  88.7%
                Black/African American                                  6.1%
                Asian                                                   0.9%
                Other Race/Multiple
                                                                        7.6%
                Classifications


        *May add up to more than 100%, as people could select more than one classification (if
        applicable).


9
  A Counties, as defined by A.C. Nielsen Company (“Nielsen”), are all counties belonging to the 25 largest
metropolitan areas. These metro areas correspond to the Metropolitan Statistical Area and include the largest
cities and consolidated areas in the U.S. B Counties, as defined by Nielsen, are all counties not included under
category A that either have a population greater than 150,000 or are in a metro area with a population greater
than 150,000 according to the latest census. C Counties, as defined by Nielsen, are all counties not included
under categories A or B that either have a population greater than 40,000 or are in a metro area with a population
greater than 40,000 according to the latest census. D Counties are, essentially, rural counties.
                                                                                                                 9
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Based on this data, Effexor users generally have the following characteristics:

         •   Older women
         •   Likely to be divorced, legally separated, or never married
         •   High School graduates or have an associate degree from college
         •   Tend to be unemployed/not working or retired
         •   Live in urban areas
         •   Likely Caucasian

                           GEOGRAPHIC CONSIDERATIONS
The Indirect Purchaser Class is numerous and geographically dispersed across the United States. Notice
to the Class will be targeted firstly to the Class States and secondly nationwide to reach those who may
have relocated.
The Class States include: Arizona, California, Florida, Kansas, Maine, Massachusetts, Michigan,
Minnesota, Mississippi, Montana, Nevada, New Hampshire, New Mexico, New York, North Carolina,
Oregon, Rhode Island, South Dakota, Tennessee, West Virginia, and Wisconsin.

                                 MEDIA-USAGE ANALYSIS
Everybody is exposed to and consumes media differently, and it may even change daily. However, over
time, our media consumption follows a specific pattern, known as our individual media habits, which
can be tracked. MRI divides those habits into five categories of media usage, from heavy consumption
of media to light users of a media type. These five categories are defined by Quintiles ranked from 1 to
5, with Quintile 1 representing the heaviest user of a media vehicle and Quintile 5 representing a light
user.

The target audience’s media usage in each Quintile is expressed as an index. An index of 100 represents
average usage of a particular medium. Therefore, an index above 100 indicates heavier usage of the
medium than that of the average adult, and an index below 100 indicates lighter usage of the medium
than that of the average adult.

Media vehicles in the Quintile analysis summarized below include magazines, newspapers and
newspaper supplements, radio, television, and the Internet.


                          Media Indices                      Effexor Users

                Magazines
                Quintile 1                                         110
                Quintile 2                                          95
                Newspapers and Supplements
                Quintile 1                                         110
                Quintile 2                                         114
                Radio (Weekday)
                Quintile 1                                         102
                Quintile 2                                         106
                Television
                                                                                                     10
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                         Media Indices                       Effexor Users

                Quintile 1                                         134
                Quintile 2                                          99
                Digital
                Quintile 1                                          86
                Quintile 2                                         101

Appendix B includes the entire 2024 MRI-Simmons media Quintile analysis for Effexor users.

After considering geographic targeting, the demographic analysis, the media Quintile results, and time
spent on media vehicles, targeted digital and social media were selected as effectual and cost-effective
vehicles to reach the target audience.

            DIGITAL MEDIA ANALYSIS AND RECOMMENDATION
MRI-Simmons provides data on Internet usage by asking survey respondents about their online usage
during the preceding 30 days. According to the 2024 MRI-Simmons Doublebase survey, 97.3% of
Effexor users have used the Internet during the past 30 days.

Below is an overview of Effexor users’ Internet usage. For a complete list of Internet usage activities,
please refer to Appendix C.


                         Internet Usage                    Effexor Users

                 Looked at/used Internet in the
                 last 30 days                                  91.3%

                 Have Internet access at home                  96.3%
                 Desktop computer                              39.4%
                 Laptop or Netbook                             52.5%
                 iPad or tablet                                35.3%
                 Smartphone                                    88.4%
                 Obtained financial information                28.3%
                 Paid bills online                             66.2%
                 Used email                                    87.3%
                 Used Instant Messenger                        82.0%
                 Made a purchase for personal
                                                               74.4%
                 use in past 30 days
                 Played games in past 30 days                  43.3%
                 Obtained the latest
                 news/current events in                        52.7%

                                                                                                     11
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                         Internet Usage                     Effexor Users

                  past 30 days

                  Obtained medical
                                                                 40.2%
                  information in past 30 days
                  Obtained
                  entertainment/celebrity                        29.7%
                  information in past 30 days
                  Visited a TV network’s website                 19.2%
                  Looked for recipes online in
                                                                 56.9%
                  past 30 days
                  Shared Photos through Internet
                                                                 41.8%
                  website


Because the Internet is such an integral part of the lives of Effexor users, it is recommended that online
media drive the proposed paid media portion of the Notice Plan.

A.B. Data recommends utilizing a variety of top websites and social media applications to maximize
Class Members’ exposure opportunities. Additionally, websites and applications with audiences that
include large percentages of our target audience will be selected. Digital impressions will be delivered
to websites within relevant categories and content.

Following is a summary of the search engines and websites used most frequently by Effexor users. A
complete list of search engines and websites included in the 2024 MRI-Simmons Doublebase survey
is provided in Appendix C.

                         Search Engines/
                                                             Effexor Users
                         Websites Visited

                   Google                                        83.0%
                   Yahoo!                                        16.8%
                   WebMD                                         25.5%
                   Wikipedia                                     24.5%
                   Facebook Messenger                            58.0%
                   Gmail                                         65.6%
                   CNN                                           13.7%
                   FOXNews                                       13.2%
                   Accuweather                                   24.4%
                   Amazon                                        79.8%


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                          Search Engines/
                                                           Effexor Users
                          Websites Visited

                   eBay                                        19.2%
                   ESPN                                        15.0%
                   Weather Channel                             42.3%
                   Zillow                                      23.2%

                   Social Media Apps Visited               Effexor Users
                   Facebook                                    46.0%
                   YouTube                                     14.7%
                   Instagram                                    8.8%
                   Pinterest                                    1.6%
                   Snapchat                                     2.0%
                   Twitter                                      1.2%

                               Digital Media Recommendation
A.B. Data recommends placing banner and social media ads on a variety of websites and mobile
applications to maximize exposure to potential Class Members and deliver the reach required to provide
Rule 23-compliant notice.

Based on our in-house Comscore data analysis, we recommend running a mix of digital and social
media and search advertising across websites, mobile devices, and apps using the Google Display
Network, Facebook, Instagram, YouTube, and Google AdWords. A minimum of 236 million
impressions will be served to the target audience.

The digital and social media and search advertising will run for 30 days to allow ample time to deliver
the impressions. Banner advertisements (“ads”) will use standard IAB (Interactive Advertising Bureau)
sizes (300 x 250, 728 x 90, 300 x 600, 320 x 50, 300 x 50). All banner and newsfeed ads will include
embedded and trackable links to the case-specific website. Links will be tracked using Google
Analytics tracking codes to optimize the campaign.

Ads will be served across multiple devices, including mobile, tablet, and desktop. Ads will be placed
in premium positions, so they can be viewed without scrolling and seen easily when visitors first open
the website page, e-newsletter, or application.




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Background information about each digital platform is detailed below:




      •   Google serves ads on its own properties, as well as 2 million websites across the Internet. 10
      •   The target audience uses Google for search, email, maps, and other applications.
      •   Google allows us to select the relevant content where we want the banner ads to appear, such
          as websites with depression-related topics.
      •   A mix of display banner ad sizes will be utilized.




      •   More than 83% of Effexor users used Google to search for information in the past 30 days.
      •   Google AdWords text ads appear on the search results when relevant keyword search terms and
          phrases, such as “panic attack,” “social anxiety,” “depression,” etc. are used.




      •   YouTube usage continues to grow with over 239 million adults in the U.S. viewing content on
          YouTube each month. 11
      •   Owned by Google, so campaigns can be optimized jointly and simultaneously.
      •   YouTube offers advertisers very selective targeting abilities.
      •   Affinity targeting will be based on users’ interests and habits (i.e., targeting viewers who have
          viewed content related to depressive disorder, generalized anxiety disorder, social anxiety
          disorder, and panic disorder).
      •   Dynamic prospecting will be used where banner ads are served to new users who are searching
          for videos regarding depression and pain disorders.




      •   A case-specific Facebook page will be created as a landing page for Facebook and Instagram
          users and to share case information.
      •   Facebook is the most popular social media platform among Effexor users. Many are frequent
          visitors to the platform, using it to post photos and videos, send messages to family and friends,
          and stay current with their social network.
10
    Google.com, About targeting for Display Network campaigns - Google Ads Help. (2019),
https://support.google.com/google-ads/answer/2404191?hl=en.
11
   Zote, Jacqueline. 2024. “30 YouTube Statistics to Power Your Marketing Strategy in 2023.” Sprout Social.
March 20, 2024. https://sproutsocial.com/insights/youtube-stats/.
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      •   Nearly half of the target audience (46%) have visited Facebook in the last 30 days.
      •   Facebook allows specific demographic targeting, including reaching those who are interested
          in health, depression, seeking help with social anxiety, etc.




      •   Instagram has over 166.2 million users making it the third most popular social media platform
          worldwide 12.
      •   Mobile newsfeed ads will drive potential Class Members to the settlement website.
      •   Instagram is one of the most popular social media sites within the target demographic,
          reaching almost a third of the target audience.
      •   Instagram users can be targeted by location, interests, behaviors, and other demographic
          characteristics.

     Digital media placements were chosen to meet audience-notification requirements and achieve
     maximum engagement with the advertisements. Campaigns and creative strategies will be
     optimized throughout the course of the proposed Notice Plan to maximize efficiency and
     effectiveness. Several campaign targeting strategies will be utilized, including:

     Digital Media Strategy       Digital Media Tactics

     Demographic                  Target a heavier concentration of women because they are more
                                  likely to purchase this medication.

     Mobile In-App                Target individuals while they are using relevant mobile applications.
                                  Mobile applications could include health and medical apps, game
                                  apps, weather apps, or entertainment/cooking apps.

     Mobile – Websites            Target phones and tablets whose users are visiting websites that are
                                  contextually relevant and websites being visited by relevant users.

     Contextual                   Target individuals who visit websites with relevant content and
                                  context, such as those that provide health, medical, and lifestyle
                                  information.

     Behavioral                   Target users based on their previous online browsing activity (e.g., if
                                  a user views or searches content related to depression, health, or
                                  Effexor on WebMD.com, etc., a data profile with that information is
                                  created and targeted ads are served to them).




12
  Kumar, Naveen. 2024. “How Many People Use Instagram 2024 [New Data].” DemandSage. September 30,
2024. http://www.demandsage.com/instagram-statistics/.
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   Digital Media Strategy       Digital Media Tactics

   Predictive Modeling          Use “look-alike” modeling to target user IDs whose owners have
                                strong similarities to users who previously “clicked through” to the
                                settlement website.


A.B. Data employs a fully staffed digital buying team to manage all digital and social media programs
in-house for the greatest control and oversight. While these advertisements are active, A.B. Data’s
digital media experts will monitor the success, conversions, and activity associated with the digital and
social media notice campaigns and optimize the number of impressions delivered across each platform
to achieve maximum engagement and efficiency. A.B. Data’s digital media experts have the following
certifications:

   •    Facebook’s Certified Digital Marketing Associate Certification
   •    Google Ads Display Certification
   •    Google Ads Search Certification
   •    Google Analytics Certification
   •    IAB Digital Media Buying & Planning Certification

With this level of expertise, digital and social media campaigns are assured impressions are delivered
directly to the target audience, with online ad verification and minimal threat of bot-traffic and
inappropriate content.

                  EARNED MEDIA NOTICE RECOMMENDATION
In addition to the proposed direct notice and paid media components, a news release will be distributed
via PR Newswire’s US1 Newsline to help the Settlement gain more attention from the media and
potential Class Members. The news release will reach traditional media outlets (television, radio,
newspapers, magazines), news websites, and journalists nationwide.

News about the case will also be broadcast to the news media via X. It will be tweeted from PR
Newswire’s and A.B. Data’s X accounts to thousands of news media and other followers. The news
release will also assist with driving search engine results and help increase traffic to the settlement
website.

                 TARGETED NOTICE TO THIRD-PARTY PAYORS
Class Members include TPPs. Accompanying the proposed Notice Plan above will be a significant
TPP-targeted notice program using direct mail and digital media.

A.B. Data has a proprietary database listing the names and addresses of approximately 43,000 entities
that include: (i) insurance companies; (ii) health maintenance organizations; (iii) self-insured entities
such as large corporations, labor unions, and employee benefit and pension plans; and (iv) certain
record keepers and other entities that have relationships with or may represent TPPs, such as pharmacy
benefit managers and third-party administrators, compiled from membership listings and existing
databases from publicly available sources, including U.S. Department of Labor Form 5500 filings, the
Pharmacy Benefits Management Institute, and prior pharmaceutical litigation that A.B. Data has
administered. This database is updated regularly.

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A.B. Data’s will prepare and send a Postcard Notice via First-Class Mail to entities in this database and
TPP Class Members who submitted claims in the prior settlement with Wyeth and for whom only a
known mailing address is available or whose email addresses are determined to be invalid.

A.B. Data will also send Email Notice to potential TPP Class Members in the database and TPPs who
submitted claims in the prior settlement with Wyeth that have available email addresses.

To supplement the direct notice, digital banner ads, customized for TPPs, will appear one time in e-
newsletters to subscribers of the following industry websites:

   •   ThinkAdvisor.com/life-health – This website is affiliated with the former publication National
       Underwriter Life & Health. It is uniquely positioned to provide agents and brokers with timely,
       insightful information as they navigate the specialty insurance markets and sort through critical
       industry developments.

   •   BenefitNews.com – This website is affiliated with the publication Employee Benefit News. It
       serves human resource management personnel that specialize in determining and implementing
       benefits for employees, including health insurance.

   •   SHRM.org – This website is the official website of the Society of Human Resource
       Management. Visitors to this website include human resource (“HR”) managers who specialize
       in a variety of HR disciplines such as benefits, health insurance, compliance, and many others.
       It also reaches the HR management within large companies that offer private health insurance
       policies to their employees.

                              NATIONAL MEDIA DELIVERY
A.B. Data estimates that the Notice Plan, including direct notice, paid media (digital and social media
advertising), and earned media efforts focused on consumer and TTP Class Members, will reach well
over 70.5% of the target audience.

These Notice efforts reflect a strategic, highly targeted, and contemporary method to deploy notice to
potential Class Members. The proposed Notice Plan provides a reach and frequency that courts have
approved previously and within the range recommended by The Federal Judicial Center’s Judges’ Class
Action Notice and Claims Process Checklist and Plain Language Guide, which considers a 70%-95%
reach among class members reasonable.

The proposed Notice Plan is, in A.B. Data’s experience, the best practicable approach under the
circumstances for potential Class Members and meets due-process requirements.

                                        Notice Plan Summary

                           Vehicle                  70%+ Estimated Reach Plan

                                                •    Email/Postcard Notice to TPP
                   Direct Notice                     Database and all Class Members
                                                     who previously filed a claim
                   Digital Media                •    236 million impressions

                                                                                                      17
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                                        Notice Plan Summary

                           Vehicle                  70%+ Estimated Reach Plan
                                                •    Banner ads on general interest
                                                     and health-related websites,
                                                     social media
                                                •    Search advertising
                                                •    Case-specific Facebook page
                                                •    National Press Release (US1
                   Earned Media                      National) plus Twitter
                                                     Tweet/Image
                                                •    Thinkadvisor.com e-newsletter
                   TPP Media                    •    BenefitNews.com e-newsletter
                                                •    SHRM.org e-newsletter

                              NOTICE DESIGN STRATEGIES
The Federal Rules of Civil Procedure require notices in class action cases to be written in “plain, easily
understood language.” This process was utilized in developing the Long-Form, Short-Form, and
Postcard Notices for this Settlement. A.B. Data is committed to adhering to the requirements provided
for notice language outlined in the Federal Rules of Civil Procedure Rule 23.
The plain-language notices are designed with a large, bold headline that will be seen easily by potential
Class Members. Plain, easily understood language in the body of the notice helps ensure Class Members
understand the subject of the case and their legal rights and options.
The online banner ads and social media newsfeed ads are designed to alert potential Class Members
about the proposed Settlement. The ads will each include a link to the settlement website, so potential
Class Members may click on it and go directly to the website to obtain answers and other case
information or to file a claim. The newsfeed and banner ads will also include product or usage photos
to increase awareness, generate interest, and increase the click-through rate to the settlement website.
Shown below are proposed sample banner ads for consumers and TPPs:




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          APPENDICES A-C
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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                           Weighted                    %
                                                                            (000)      % Coverage                 Index
                                                                                                    Composition
Adults                                                                        2,396         0.93         100.00      100
Men                                                                             826         0.66          34.48       71
Women                                                                         1,570         1.19          65.52      127
Respondent is parent of child under 18 currently living in the                  564         0.89          23.52       95
household
Respondent is mom of child under 18 currently living in the                     369         1.07          15.41      114
household
Respondent is dad of child under 18 currently living in the                     195         0.68           8.12           73
household
Respondent is parent of a child under 18 not currently living in the            160         0.73           6.67       78
Respondent is parent of an adult aged 18 or over not currently living         1,043         1.10          43.54      118
in the household
Any parent (Any parent of an adult or child, living in home or out of         1,590         0.98          66.35      105
home)
Age 18-24                                                                       159         0.54           6.65       58
Age 25-34                                                                       295         0.65          12.31       70
Age 35-44                                                                       428         0.99          17.86      106
Age 45-54                                                                       451         1.12          18.84      120
Age 55-64                                                                       486         1.15          20.30      123
Age 65+                                                                         576         1.02          24.05      109
Mean respondent age                                                   /A       50.7         N/A            N/A       107
Median respondent age                                                 /A       52.4         N/A            N/A       110
Adults 18-34                                                                    454         0.61          18.96       65
Adults 18-49                                                                  1,077         0.79          44.93       84
Adults 25-54                                                                  1,174         0.91          49.00       98
Adults 35-54                                                                    879         1.06          36.69      113
Men 18-24                                                              *         55         0.37           2.28       40
Men 18-34                                                                       192         0.51           8.01       55
Men 18-49                                                                       439         0.64          18.31       69
Men 25-34                                                              *        137         0.61           5.73       65
Men 25-54                                                                       469         0.74          19.59       79
Men 35-44                                                                       177         0.83           7.40       89
Men 35-54                                                                       332         0.81          13.86       86
Men 45-54                                                              *        155         0.78           6.46       84
Men 55-64                                                              *        145         0.71           6.05       76
Men 65+                                                                         157         0.61           6.57       66
Women 18-24                                                            *        105         0.72           4.37       77
Women 18-34                                                                     262         0.71          10.95       76
Women 18-49                                                                     638         0.93          26.62       99
Women 25-34                                                                     158         0.70           6.58       75


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                       Weighted                    %
                                                                        (000)      % Coverage                 Index
                                                                                                Composition
Women 25-54                                                                 705         1.09          29.41      117
Women 35-44                                                                 251         1.16          10.45      124
Women 35-54                                                                 547         1.30          22.83      139
Women 45-54                                                                 297         1.45          12.38      155
Women 55-64                                                                 342         1.56          14.25      167
Women 65+                                                                   419         1.35          17.48      145
Highest Degree Received by Respondent: 12th grade or less (did not *        204         0.83           8.53       89
graduate high school)
Highest Degree Received by Respondent: Graduated high school or             738         1.00          30.80      107
equivalent
Highest Degree Received by Respondent: Some college, no degree              402         0.95          16.78      101
Highest Degree Received by Respondent: Associate degree                     325         1.25          13.55      134
Highest Degree Received by Respondent: Bachelor's degree                    398         0.76          16.61       81
Highest Degree Received by Respondent: Post-graduate degree                 329         0.88          13.73       95
Highest Degree Received by Respondent: Some college (no degree)             727         1.06          30.33      114
OR Associate degree
Highest Degree Received by Respondent: Bachelor's degree OR Post-           727         0.81          30.34           87
graduate degree
Employment: Working full time                                             1,005         0.81          41.93       86
Employment: Working part time                                               299         0.90          12.49       96
Employment: Working full time or part time                                1,304         0.83          54.42       88
Employment: Not working                                                   1,092         1.11          45.58      118
If not employed: Retired                                                    623         1.12          25.99      119
If not employed: Temporarily Unemployed                            *        110         0.98           4.57      105
If not employed: Student                                           *         51         0.70           2.12       75
If not employed: Homemaker                                         *        136         0.89           5.68       95
If not employed: Other                                                      173         1.87           7.23      201
Occupation: Professional and related occupations                            378         0.96          15.75      102
Occupation: Management, business and financial operations                   209         0.70           8.73       75
Occupation: Sales and office occupations                                    275         0.93          11.48      100
Occupation: Natural resources, construction and maintenance        *         96         0.68           3.99       73
occup.
Occupation: Other employed                                                  347         0.77          14.47       83
Respondent is a Veteran of the U.S. Armed Forces                            211         1.08           8.80      116
Respondent is in the Reserves of the U.S. Armed Forces             *          7         0.54           0.28       58
Individual Employment Income: $250,000+                            *         13         0.32           0.53       35
Individual Employment Income: $200,000-$249,999                    *         11         0.40           0.48       43
Individual Employment Income: $150,000-$199,999                    *         27         0.40           1.14       42
Individual Employment Income: $100,000-$149,999                    *        163         0.89           6.79       95
Individual Employment Income: $75,000-$99,999                               148         0.75           6.19       80


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                    Weighted                    %
                                                                     (000)      % Coverage                 Index
                                                                                             Composition
Individual Employment Income: $60,000-$74,999                            162         0.95           6.76      101
Individual Employment Income: $50,000-$59,999                            123         0.86           5.11       92
Individual Employment Income: $40,000-$49,999                            182         1.07           7.60      115
Individual Employment Income: $30,000-$39,999                            156         0.91           6.50       97
Individual Employment Income: $20,000-$29,999                  *         109         0.70           4.53       75
Individual Employment Income: Under $20,000                              210         0.85           8.78       91
Wage Earner Status: Employed                                           1,304         0.83          54.42       88
Wage Earner Status: Sole earner                                          445         0.97          18.55      104
Wage Earner Status: Primary earner                                       442         0.77          18.45       82
Wage Earner Status: Secondary earner                                     417         0.77          17.42       82
Household Income: $500,000+                                    *          28         0.64           1.16       68
Household Income: $350,000-$499,999                            *          11         0.27           0.47       29
Household Income: $250,000-$349,999                            *          46         0.48           1.91       51
Household Income: $200,000-$249,999                            *         147         1.02           6.15      109
Household Income: $150,000-$199,999                                      212         0.73           8.85       78
Household Income: $125,000-$149,999                                      129         0.67           5.39       72
Household Income: $100,000-$124,999                                      248         0.90          10.34       96
Household Income: $75,000-$99,999                                        332         1.00          13.85      107
Household Income: $60,000-$74,999                                        191         0.80           7.98       86
Household Income: $50,000-$59,999                                        192         1.12           8.02      120
Household Income: $40,000-$49,999                                        231         1.37           9.64      146
Household Income: $30,000-$39,999                                        205         1.20           8.57      128
Household Income: $20,000-$29,999                                        159         0.99           6.65      106
Household Income: Under $20,000                                          264         1.11          11.01      119
Mean Household Income                                          /A   94,056.2         N/A            N/A        85
Median Household Income                                        /A   71,470.6         N/A            N/A        84
Household Income: $250,000+                                     *         85         0.47           3.54       50
Household Income: $150,000+                                              444         0.72          18.54       77
Household Income: $100,000+                                              821         0.76          34.27       81
Household Income: $75,000+                                             1,153         0.81          48.12       87
Household Income: $60,000+                                             1,344         0.81          56.10       87
Household Income: $50,000+                                             1,537         0.84          64.13       90
Household Income: $40,000+                                             1,768         0.89          73.77       95
Household Income: $30,000+                                             1,973         0.91          82.34       97
Total Net Worth of All HH Members: $1,000,000+                           324         0.78          13.53       84
Total Net Worth of All HH Members: $500,000-$999,999                     407         0.92          17.00       98
Total Net Worth of All HH Members: $250,000-$499,999                     527         1.00          21.98      107
Total Net Worth of All HH Members: $100,000-$249,999                     470         1.04          19.62      111
Total Net Worth of All HH Members: Under $100,000                        668         0.92          27.87       98
Census Region: North East                                                394         0.88          16.45       94


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                        Weighted                    %
                                                                         (000)      % Coverage                 Index
                                                                                                 Composition
Census Region: South                                                         959         0.97          40.03      104
Census Region: Midwest                                                       565         1.06          23.60      114
Census Region: West                                                          478         0.80          19.93       86
Marketing Region: New England                                                134         1.12           5.60      120
Marketing Region: Mid Atlantic                                               294         0.76          12.25       82
Marketing Region: East Central                                               343         1.16          14.33      124
Marketing Region: West Central                                               416         1.13          17.34      121
Marketing Region: Southeast                                                  578         1.06          24.12      113
Marketing Region: Southwest                                                  259         0.79          10.80       85
Marketing Region: Pacific                                                    373         0.71          15.56       76
Mediamarkets: Top 5                                                          320         0.62          13.34       66
Mediamarkets: Next 5                                                         208         0.72           8.69       77
Mediamarkets: New York                                              *         76         0.45           3.18       48
Mediamarkets: Los Angeles                                           *         99         0.68           4.14       73
Mediamarkets: Chicago                                               *         46         0.61           1.91       65
Metropolitan CBSA                                                          1,960         0.88          81.78       94
Micropolitan CBSA/unassigned                                                 437         1.27          18.22      135
County Size: A                                                               743         0.69          30.99       74
County Size: B                                                               856         1.11          35.73      118
County Size: C                                                               361         0.97          15.06      104
County Size: D                                                               437         1.29          18.22      138
Marital Status: Never married                                                577         0.74          24.09       79
Marital Status: Now married                                                1,226         0.93          51.18       99
Marital Status: Legally separated/widowed/divorced                           593         1.29          24.73      138
Marital Status: Never married or Legally                                   1,170         0.94          48.82      101
separated/widowed/divorced
Marital Status: Engaged                                             *        102         0.78           4.25       83
Living w/partner/fiance/boyfriend or girlfriend (same or opposite            332         1.02          13.87      109
sex)
Married in last 12 months                                           *         82         1.23           3.41      131
Household size: 1                                                            430         1.13          17.95      121
Household size: 2                                                            882         1.00          36.82      107
Household size: 3-4                                                          734         0.83          30.62       89
Household size: 5+                                                           350         0.84          14.61       90
Children: Any                                                                738         0.85          30.78       91
Children: 1                                                                  375         1.01          15.67      108
Children: 2                                                                  186         0.62           7.78       67
Children: 3+                                                                 176         0.89           7.33       96
Child Age: <12 months                                               *         77         0.62           3.21       66
Child Age: 12-23 months                                             *         52         0.76           2.18       81


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                    Weighted                    %
                                                                     (000)      % Coverage                 Index
                                                                                             Composition
Child Age: <2 years                                            *         127         0.70           5.30       75
Child Age: <6 years                                                      286         0.74          11.95       79
Child Age: 2-5 years                                                     215         0.76           8.97       81
Child Age: 6-11 years                                                    343         0.89          14.31       95
Child Age: 12-17 years                                                   362         0.84          15.12       90
Life Cycle: Respondent 18-34 1 person household                *          38         0.58           1.60       62
Life Cycle: Respondent 18-34 married no kids                   *          38         0.50           1.59       53
Life Cycle: Respondent 18-34 married young child under 6       *          78         0.74           3.24       80
Life Cycle: Respondent 18-34 married young child 6-17          *           8         0.37           0.35       39
Life Cycle: Balance of respondents 18-34                                 292         0.61          12.18       66
Life Cycle: Respondent 35-49 1 person household                *          57         1.00           2.37      107
Life Cycle: Respondent 35-49 married no kids                   *         119         1.29           4.95      138
Life Cycle: Respondent 35-49 married young child under 6       *          76         0.68           3.15       73
Life Cycle: Respondent 35-49 married young child 6-11          *          95         0.91           3.95       97
Life Cycle: Respondent 35-49 married young child 12-17         *          76         1.05           3.18      113
Life Cycle: Balance of respondents 35-49                                 200         1.06           8.37      113
Life Cycle: Respondent 50+ 1 person household                            322         1.34          13.42      144
Life Cycle: Respondent 50+ married no kids                               641         1.01          26.76      108
Life Cycle: Respondent 50+ married w/kids                      *          96         0.91           4.02       97
Life Cycle: Balance of respondents 50+                                   261         1.22          10.88      131
Years at Present Address: Under 1 year                                   213         0.74           8.89       79
Years at Present Address: 1-4 years                                      694         0.90          28.95       96
Years at Present Address: 5+ years                                     1,490         0.99          62.16      106
Own or Rent Home: Own                                                  1,682         1.00          70.19      107
Own or Rent Home: Rent                                                   684         0.83          28.53       89
Own or Rent Home: Rent-free                                    *          31         0.56           1.28       60
Home Value: $500,000+                                                    318         0.68          13.25       73
Home Value: $200,000-$499,999                                            782         1.02          32.65      109
Home Value: $100,000-$199,999                                            377         1.34          15.74      143
Home Value: $50,000-$99,999                                    *         113         1.12           4.72      120
Home Value: Under $50,000                                      *          92         1.31           3.83      140
Race: White                                                            2,125         1.11          88.67      119
Race: Black/African American                                             147         0.43           6.13       46
Race: American Indian or Alaska Native                         *          31         0.73           1.28       78
Race: Asian                                                    *          21         0.19           0.86       20
Race: Other                                                              131         0.52           5.45       56
Race: White only                                                       2,083         1.13          86.93      121
Race: Black/African American only                                        131         0.42           5.46       44
Race: Other race/Multiple classifications                                182         0.45           7.60       48
Spanish Spoken in Home (Most Often or Other)                             220         0.47           9.16       51


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                         Weighted                    %
                                                                          (000)      % Coverage                 Index
                                                                                                  Composition
Hispanic Respondent Personally Speaks at Home (Hispanic              *         70         0.94           2.94      101
respondents only): Only English
Hispanic Respondent Personally Speaks at Home (Hispanic              *         74         0.68           3.08           72
respondents only): Mostly English, but some Spanish
Hispanic Respondent Personally Speaks at Home (Hispanic              *         46         0.36           1.90           38
respondents only): Only Spanish
Hispanic Respondent Personally Speaks at Home (Hispanic              *         23         0.24           0.95           25
respondents only): Mostly Spanish, but some English
Hispanic Respondent Personally Speaks at Home (Hispanic              *          8         0.29           0.35           31
respondents only): Both English and Spanish equally at home
Hispanic Birthplace of Respondent (Hispanic respondents only):                129         0.58           5.37           62
United States
Hispanic Birthplace of Respondent (Hispanic respondents only):       *         87         0.44           3.64           47
Other country
Hispanic Birthplace of Respondent (Hispanic respondents only):       *          9         0.43           0.39           47
Puerto Rico or other U.S. Territories
Hispanic Birthplace of Respondent’s Mother (Hispanic respondents     *         77         0.74           3.20           79
only): United States
Hispanic Birthplace of Respondent’s Mother (Hispanic respondents     *        133         0.47           5.54           50
only): Other country
Hispanic Birthplace of Respondent’s Mother (Hispanic respondents     *         11         0.35           0.45           37
only): Puerto Rico or other U.S. Territories
Hispanic Birthplace of Respondent’s Father (Hispanic respondents     *         61         0.65           2.53           69
only): United States
Hispanic Birthplace of Respondent’s Father (Hispanic respondents              145         0.51           6.06           55
only): Other country
Hispanic Birthplace of Respondent’s Father (Hispanic respondents     *          9         0.28           0.39           30
only): Puerto Rico or other U.S. Territories
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):            139         0.59           5.82           63
Mexico
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):   *         11         0.22           0.46           24
Puerto Rico
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):   *          7         0.26           0.27           28
Cuba
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):   *         10         0.47           0.40           51
Dominican Republic
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):   *         13         0.27           0.55           29
Other Central American Country
Hispanic Country of Ancestors’ Origin (Hispanic respondents only):   *         63         0.66           2.63           70
South America or other Spanish/Hispanic country


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Appendix A
Effexor Antitrust Litigation MRI Data

Audience Demographic: Prescription Brands Used: In last 12 months: Effexor/Effexor XR


                                                                         Weighted                    %
                                                                          (000)      % Coverage                 Index
                                                                                                  Composition
Hispanic Length of Time Living in the United States (Hispanic        *          23        0.62           0.98           66
respondents, born outside the U.S. only): Less than 5 years
Hispanic Length of Time Living in the United States (Hispanic        *          11        0.30           0.44           32
respondents, born outside the U.S. only): 5 years but less than 10
Spanish, Hispanic or Latino Origin or Descent                                  225        0.51           9.39         55
Not of Spanish, Hispanic or Latino Origin/Descent                            2,171        1.02          90.61        109
Pet owner                                                                    1,675        1.17          69.88        126
Dog owner                                                                    1,229        1.14          51.29        122
Cat owner                                                                      900        1.37          37.56        147
Generations: Gen Z (b.1997-2010) only includes respondents 18+                 216        0.60           9.02         64
Generations: Millennials (b.1977-1996)                                         736        0.83          30.71         89
Generations: GenXers (b.1965-1976)                                             530        1.10          22.11        117
Generations: Boomers (b. 1946-1964)                                            796        1.15          33.21        123
Generations: Early Boomers (b. 1946-1955)                                      311        1.01          12.98        108
Generations: Late Boomers (b. 1956-1964)                                       485        1.27          20.23        136
Generations: Pre-Boomers (b. before 1946)                            *         119        0.82           4.94         87
Respondent's Sexual Orientation: Heterosexual/Straight                       2,031        0.92          84.77         98
Respondent's Sexual Orientation: NET Gay/Lesbian                     *          88        1.30           3.69        139
Respondent's Sexual Orientation: NET                                           193        1.30           8.06        139
Gay/Lesbian/Bisexual/Transgender

* Projections relatively unstable, use with caution
Since W82 on, mag aud ests tabbed w/ probabilities, ratio-adjust to recent read for Tot, M & F AIA. Prior ests use
recent-readng only.
Source: 2024 MRI-Simmons Spring Doublebase USA weighted to Population (000) - Base: All
No Audit Report Was Generated




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Appendix B
Effexor Antitrust Litigation MRI Data
Media Quintiles: Prescription Brands: Used: In last 12
months: Effexor/Effexor XR

                            Weighted    %        %
                                                            Index
                             (000)   Coverage Compositio
Summaries: Media                529      1.03       22.09      110
Quintile/Tercile Codes:
Magazines II                    458      0.89       19.10       95
Magazines III                   467      0.91       19.50       98
Magazines IV                    476      0.93       19.86      100
Magazines V (Light)             466      0.91       19.45       98
Newspaper I (Heavy)             533      1.03       22.23      110
Newspaper II                    543      1.06       22.65      114
Newspaper III                   439      0.86       18.34       92
Newspaper IV                    493      0.97       20.57      103
Newspaper V (Light)             388      0.76       16.21       81
Radio/Audio I (Heavy)           491      0.96       20.51      102
Radio/Audio II                  506      0.99       21.13      106
Radio/Audio III                 517      1.01       21.58      108
Radio/Audio IV                  420      0.82       17.51       88
Radio/Audio V (Light)           462      0.90       19.28       96
Radio/Audio                     524      1.02       21.89      109
(Primetime) I (Heavy)
Radio/Audio                     517      1.01       21.57      108
(Primetime) II
Radio/Audio                     485      0.94       20.23      101
(Primetime) III
Radio/Audio                     380      0.74       15.85       79
(Primetime) IV
Radio/Audio                     490      0.96       20.47      102
(Primetime) V (Light)
TV (total) I (Heavy)            645      1.25       26.90      134
TV (total) II                   473      0.92       19.72       99
TV (total) III                  487      0.95       20.33      102
TV (total) IV                   380      0.74       15.86       79
TV (total) V (Light)            412      0.80       17.19       86
Internet I (Heavy)              412      0.80       17.20       86
Internet II                     484      0.94       20.18      101
Internet III                    500      0.98       20.85      104
Internet IV                     562      1.09       23.46      117
Internet V (Light)              439      0.85       18.31       91
Social Media I (Heavy)          423      0.82       17.63       88
Social Media II                 522      1.02       21.79      109


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Appendix B
Effexor Antitrust Litigation MRI Data
Media Quintiles: Prescription Brands: Used: In last 12
months: Effexor/Effexor XR

                                    Weighted    %        %
                                                                    Index
                                     (000)   Coverage Compositio
Social Media III                        575      1.12       24.00      120
Social Media IV                         449      0.88       18.73       94
Social Media V (Light)                  428      0.83       17.84       89
Outdoor I (Heavy)                       447      0.88       18.67       94
Outdoor II                              542      1.06       22.60      113
Outdoor III                             508      0.99       21.20      106
Outdoor IV                              435      0.85       18.14       91
Outdoor V (Light)                       465      0.90       19.38       96
TV (Prime time) I                       648      1.26       27.05      135
(Heavy)
TV (Prime time) II                      425      0.83       17.72       89
TV (Prime time) III                     418      0.81       17.45       87
TV (Prime time) IV                      485      0.95       20.25      101
TV (Prime time) V (Light)               420      0.82       17.54       88
TV (Day time) I (Heavy)                 387      1.22       16.16      130
TV (Day time) II                        275      0.86       11.48       92
TV (Day time) III (Light)               298      0.94       12.44      100
Spanish Language TV             *        52      0.60        2.16       64
Networks I (Heavy)
Spanish Language TV             *        11      0.12        0.45       13
Networks II
Spanish Language TV             *        39      0.44        1.64       47
Networks III
Spanish Language TV             *        63      0.71        2.63       77
Networks IV
Spanish Language TV             *        60      0.68        2.51       73
Networks V (Light)

* Projections relatively unstable, use with caution
Since W82 on, mag aud ests tabbed w/ probabilities, ratio-adjust to recent
read for Tot, M & F AIA. Prior ests use recent-readng only.
Source: 2024 MRI-Simmons Spring Doublebase USA weighted to Population
(000) - Base: All
No Audit Report Was Generated




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Appendix C
Effexor ER Antitrust Litigation MRI Data
Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
prescription drugs

                                                            Weighted         %          %
                                                             (000)                                  Index
                                                                          Coverage   Composition
Internet: Activities Done in last 30 days: Visited a   *             89       0.65          3.72        69
chat room
Used e-mail                                                    2,092          0.97         87.31       104
Used instant messenger/IM                                      1,965          0.95         82.01       102
Participated in on-line dating                         *          76          0.85          3.16        91
Made a purchase for personal use                               1,783          0.98         74.42       104
Made a purchase for business use                                 308          0.87         12.85        93
Obtained information to help make a purchase                   1,096          1.01         45.73       108
Made personal or business travel plans                           557          0.89         23.24        95
Played games online                                            1,037          1.05         43.29       112
Downloaded a video game                                          349          0.93         14.57        99
Used on-line gambling site                             *          35          0.49          1.47        52
Obtained the latest news/Current events                        1,264          0.95         52.74       102
Obtained sports news/Information                                 646          0.87         26.95        93
Obtained information for new or used car                         190          0.70          7.91        75
purchase
Obtained information about real estate                              326       0.84         13.62        90
Obtained medical information                                        963       1.11         40.20       119
Obtained childcare or parenting information            *            114       0.91          4.74        98
Obtained information about entertainment or                         711       0.97         29.68       104
celebrities
Looked for employment                                            377          1.09         15.72       116
Looked for recipes                                             1,364          0.99         56.90       106
Took an online class or course                                   229          0.81          9.54        87
Visited a TV network or TV show's website                        460          0.96         19.19       103
Looked for TV show schedules online                              311          0.96         12.99       103
Looked up movie listings or showtimes                            364          0.76         15.18        82
Downloaded a TV program                                *          91          1.02          3.81       109
Watched a TV program online                                      460          0.79         19.20        85
Downloaded a movie                                               152          0.88          6.35        94
Watched a movie online                                           782          0.87         32.62        93
Watched other online video                                       710          0.92         29.64        98
Visited online blogs                                             253          0.88         10.54        94
Wrote an online blog                                   *          14          0.50          0.60        54
Posted a comment or review on a blog, online                     314          1.15         13.08       123
forum, message or bulletin board
Made a phone call                                                   958       0.93         39.96       100


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Effexor ER Antitrust Litigation MRI Data
Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
prescription drugs

                                                          Weighted         %          %
                                                           (000)                                  Index
                                                                        Coverage   Composition
Used video chat                                                   768       0.89         32.05        96
Uploaded or added video to website                                197       1.05          8.24       113
Shared photos through Internet website                            724       1.04         30.21       112
Sent an electronic greeting card                     *            117       1.17          4.90       126
Internet: Activities Done Using A Social Media,                   766       1.04         31.97       111
Photo Or Video-Sharing Service In The Last 30
Days in last 30 days: Post an update
Update your profile                                            464          1.12         19.36       120
Post picture(s)                                              1,003          1.07         41.84       115
Used a filter on a picture                                     212          0.94          8.86       101
Create a video                                                 170          0.84          7.09        90
Post/share a video                                             498          1.07         20.77       114
Post a website link                                            255          1.23         10.65       132
Visit a friend's profile/page                                1,133          1.09         47.27       116
Comment on a friend's post                                   1,071          1.12         44.71       120
Posted a blog entry                                  *          16          0.48          0.68        52
Rated or reviewed a product or service                         192          1.07          8.03       114
Sent a message or email                                      1,182          1.08         49.34       115
Used Instant Messaging/IM                                      640          1.07         26.71       115
Play a game                                                    544          1.26         22.70       135
Invited people to an event                           *          78          0.69          3.27        74
Sent a real or virtual gift                          *          38          0.86          1.59        93
Posted that you Like something                                 967          1.22         40.35       131
Follow or become a fan of something or                         640          1.11         26.70       119
Clicked on an advertisement                                    392          1.05         16.37       112
Watched a video                                              1,146          0.99         47.84       106
Post/share your location                                       182          1.24          7.59       133
Re-post or share a post created by someone else                510          1.39         21.29       149
Make a purchase                                                626          1.04         26.11       111
Visit a company or brands profile or page                      432          1.12         18.02       120
Share a meme or GIF                                            434          1.00         18.11       107
Internet: Amazon Prime: You Or Anyone In Your                1,719          0.97         71.71       104
Internet: Any Usage in last 30 days: Any                     2,332          0.94         97.33       101
Internet/Online usage
Internet: Can Connect From Home Using A                      2,041          0.91         85.16        98
Wireless Connection (Not Including Cell Phones):




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Appendix C
Effexor ER Antitrust Litigation MRI Data
Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
prescription drugs

                                                        Weighted         %          %
                                                         (000)                                  Index
                                                                      Coverage   Composition
Internet: Chat, Instant Messenger, Or Video Chat                166       0.83          6.93        89
Services, Used In The Last 30 Days: Discord
Facebook Messenger                                         1,391          1.14         58.04       122
FaceTime                                                        696       0.87         29.06        93
Google Meet                                                     107       0.77          4.47        83

Microsoft Teams                                                 239       0.69          9.96        74

Signal                                             *             32       0.83          1.32        89

Skype                                              *             69       0.90          2.86        97

Slack                                              *             51       0.68          2.14        73

Snapchat Chat                                                   337       0.90         14.06        97

Telegram                                           *             66       0.89          2.77        95

Viber                                              *              9       0.54          0.38        58

WeChat                                             *             18       0.78          0.76        83

WhatsApp                                                        281       0.54         11.71        58

Zoom                                                            539       0.89         22.47        95

Internet: Devices Used To Look At Or Use in last                944       0.87         39.39        94
30 days: Desktop Computer
Laptop or Netbook Computer                                 1,257          0.86         52.45        92


Any Computer                                               1,704          0.86         71.09        93
iPad or other Tablet                                         847          0.93         35.34       100
Cellphone or Smartphone                                    2,119          0.95         88.43       102


E-reader                                           *            115       1.27          4.82       135
Video game console                                              239       0.81          9.96        86
Television                                                      767       0.99         32.00       105


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Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
prescription drugs

                                                         Weighted         %          %
                                                          (000)                                  Index
                                                                       Coverage   Composition
Internet: Have Access At Home: Yes                          2,308          0.94         96.33       100
Internet: How Respondent Connects To The            *          21          0.69          0.88        73
Internet From Home: Dial-up modem
Cable Modem                                                      848       0.85         35.38        91
DSL Connection                                                   277       1.37         11.55       147
Fiber Optic service, such as Verizon Fios or AT&T                400       0.76         16.68        82
Fiber
Satellite Service                                   *         130          1.36          5.41       146
Any Broadband or High speed Connection                      2,201          0.93         91.83        99
Internet: Internet Browsers: Used In The Last 30            1,640          0.96         68.45       102
Days: Chrome
Firefox                                                          271       0.82         11.29        88
Microsoft Edge                                                   528       0.89         22.01        95
Safari                                                           935       0.90         39.01        96
Internet: Internet Service Providers: Household:    *             42       1.87          1.76       200
America On-line (AOL)
AT&T Internet                                                 286          0.89         11.94        95
CenturyLink                                         *          83          1.08          3.48       116
Cox                                                 *          72          0.66          3.01        71
Frontier                                            *          43          0.83          1.81        89
Optimum                                             *          56          0.75          2.32        80
Spectrum                                                      503          0.97         20.97       104
Verizon or Fios by Verizon                                    210          0.94          8.78       100
Xfinity/Comcast                                               476          0.84         19.88        90
Any service                                                 2,308          0.94         96.33       100
Internet: Social Media, Photo Or Video-Sharing              1,739          1.09         72.56       117
Services Visited Or Used In The Last 30 Days:
Facebook
Flickr                                              *             27       1.72          1.12       184
Google Photos                                                    434       1.01         18.12       108
Instagram                                                        911       0.91         38.02        98
LinkedIn                                                         318       0.83         13.28        89
Nextdoor                                                         243       1.03         10.15       110
Parler                                              *             10       0.85          0.42        91
Pinterest                                                        580       1.30         24.22       139
Reddit                                                           293       0.93         12.22        99
Shutterfly                                          *             93       1.56          3.89       167
Snapchat                                                         424       0.84         17.69        90


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                                                      Weighted         %          %
                                                       (000)                                  Index
                                                                    Coverage   Composition
TikTok                                                     655          1.00         27.34       107
Tumblr                                           *          46          1.03          1.94       110
Twitch                                           *          59          0.56          2.45        60
X [measured as Twitter in Waves 87-90]                     369          0.82         15.39        88
Vimeo                                            *          37          0.90          1.53        96
Yelp                                             *         124          0.85          5.16        91
YouTube                                                  1,183          0.86         49.35        92
Any Social Media/Photo/Video-sharing services            2,118          0.98         88.40       105
Internet: Social Media, Photo Or Video-Sharing           1,102          1.26         45.96       135
Services Visited Or Used Most Often: Facebook
Google Photos                                    *             17       0.36          0.70        38
Instagram                                                     211       0.77          8.80        82
LinkedIn                                         *             34       1.11          1.42       118
Nextdoor                                         *             24       0.92          0.98        99
Pinterest                                        *             39       1.15          1.63       123
Reddit                                           *             38       0.86          1.59        92
Shutterfly                                       *              0       0.00          0.00         0
Snapchat                                         *             49       0.71          2.03        76
TikTok                                                        174       0.89          7.25        95
Tumblr                                           *              0       0.00          0.00         0
Twitch                                           *              9       1.16          0.38       124
X [measured as Twitter in Waves 87-90]           *             30       0.49          1.24        53
Yelp                                             *              6       1.53          0.24       164
YouTube                                                       353       0.74         14.73        79
Internet: Social Media: Total Time Spent Using   *             40       0.70          1.66        75
Last Saturday: 10 or more hours
5 hrs. - less than 10 hours                                   153       0.84          6.40        90
2 hrs. - less than 5 hours                                    470       1.04         19.61       111
1 hr. - less than 2 hours                                     516       1.00         21.54       107
½ hr. - less than 1 hour                                      414       1.05         17.27       112
Less than ½ hour                                              348       0.92         14.52        99
Internet: Social Media: Total Time Spent Using   *             35       0.65          1.44        70
Last Sunday: 10 or more hours
5 hrs. - less than 10 hours                                   142       0.87          5.94        94
2 hrs. - less than 5 hours                                    436       1.03         18.18       110
1 hr. - less than 2 hours                                     483       0.98         20.13       105
½ hr. - less than 1 hour                                      405       0.98         16.90       105
Less than ½ hour                                              406       1.03         16.94       110


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prescription drugs

                                                       Weighted         %          %
                                                        (000)                                  Index
                                                                     Coverage   Composition
Internet: Social Media: Total Time Spent Using    *             62       1.08          2.59       115
Yesterday: 10 or more hours
5 hrs. - less than 10 hours                                    158       0.83          6.58        88
2 hrs. - less than 5 hours                                     462       0.91         19.28        97
1 hr. - less than 2 hours                                      561       1.04         23.40       111
½ hr. - less than 1 hour                                       382       0.97         15.94       104
Less than ½ hour                                               353       0.99         14.73       106
Internet: Total Time Spent Using Last Saturday:                181       0.90          7.55        97
10 or more hours
5 hrs. - less than 10 hours                                    356       0.75         14.87        81
2 hrs. - less than 5 hours                                     802       1.06         33.48       114
1 hr. - less than 2 hours                                      490       0.99         20.47       106
½ hr. - less than 1 hour                                       242       1.03         10.09       111
Less than ½ hour                                               121       0.79          5.05        85
Internet: Total Time Spent Using Last Sunday: 10               140       0.77          5.85        82
or more hours
5 hrs. - less than 10 hours                                    351       0.79         14.63        85
2 hrs. - less than 5 hours                                     797       1.09         33.28       116
1 hr. - less than 2 hours                                      473       0.95         19.74       102
½ hr. - less than 1 hour                                       231       0.93          9.62       100
Less than ½ hour                                               158       0.97          6.61       104
Internet: Total Time Spent Using Yesterday: 10 or              249       0.88         10.40        95
more hours
5 hrs. - less than 10 hours                                    509       0.86         21.25        92
2 hrs. - less than 5 hours                                     809       1.00         33.76       108
1 hr. - less than 2 hours                                      439       1.04         18.33       111
½ hr. - less than 1 hour                                       161       0.86          6.71        92
Less than ½ hour                                  *             95       0.90          3.95        97
Internet: Websites Visited Or Apps Used In The                 217       1.36          9.06       145
Last 30 Days: Email: AOL Mail
Gmail                                                     1,573          0.92         65.63        98
Outlook                                                     560          0.82         23.36        88
Yahoo! Mail                                                 571          0.98         23.82       105
Internet: Websites Visited Or Apps Used In The              130          0.97          5.41       104
Last 30 Days: Entertainment: ABC
BuzzFeed                                                       127       1.24          5.28       133
CBS                                                            127       1.06          5.31       113
Disney.com                                        *             89       0.75          3.72        80


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prescription drugs

                                                      Weighted         %          %
                                                       (000)                                  Index
                                                                    Coverage   Composition
DisneyNOW                                        *             14       0.80          0.57        85
Fandango                                         *             50       0.81          2.08        87
Fox.com/FOX NOW                                  *             92       1.00          3.86       107
IMDb                                                          262       1.08         10.94       115
MSN Entertainment                                *             19       0.78          0.78        84
MTV                                              *             32       1.29          1.32       138
NBC                                              *             83       0.82          3.48        88
PBS.org or PBS Video                             *             69       0.90          2.89        97
POPSUGAR                                         *             12       1.01          0.49       109
Ticketmaster                                                  191       1.12          7.96       120
TMZ                                              *             89       1.01          3.73       108
Yahoo! Entertainment                             *             99       1.21          4.13       130
Internet: Websites Visited Or Apps Used In The   *             49       0.57          2.06        61
Last 30 Days: Finance: CNBC
FOX Business                                     *             59       0.67          2.47        72
MSN Money                                        *              9       0.23          0.36        25
TheStreet                                        *              9       0.42          0.37        45
Yahoo! Finance                                   *             58       0.46          2.43        49
Internet: Websites Visited Or Apps Used In The   *             93       1.28          3.86       137
Last 30 Days: Games/Gaming: Apple Arcade
Twitch.tv or Twitch                              *             62       0.58          2.60        62
YouTube Gaming                                   *             54       0.68          2.25        72
Internet: Websites Visited Or Apps Used In The                611       1.22         25.50       130
Last 30 Days: Health: WebMD
Internet: Websites Visited Or Apps Used In The   *             14       0.44          0.57        47
Last 30 Days: Information/Reference: Angi
Answers.com                                      *             15       0.49          0.61        52
eHow.com                                         *             35       0.73          1.46        78
HomeAdvisor                                      *             20       0.67          0.84        72
Whitepages                                       *             82       1.33          3.42       142
Wikipedia                                                     587       0.85         24.49        91
Zillow                                                        557       1.01         23.23       108
Internet: Websites Visited Or Apps Used In The   *             27       0.68          1.15        73
Last 30 Days: Jobs/Careers: CareerBuilder
Indeed.com or Indeed Job Search                               463       1.13         19.32       121
Monster                                          *             25       1.02          1.04       109
Internet: Websites Visited Or Apps Used In The                197       0.98          8.21       105
Last 30 Days: News/Commentary: ABCNews


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                                                       Weighted         %          %
                                                        (000)                                  Index
                                                                     Coverage   Composition
Apple News+                                       *         107          0.87          4.46        94
BBC.com                                           *          95          0.71          3.96        76
Bloomberg.com                                     *          61          0.78          2.54        83
CBSNews                                                     146          1.05          6.09       113
CNN                                                         328          0.90         13.70        97
CNN en Espanol [25]                               *           9          0.29          0.36        31
Fox News                                                    316          0.93         13.19       100
HuffPost                                          *          70          0.91          2.94        98
NBCNews                                                     164          1.14          6.84       123
NYTimes.com                                                 303          0.70         12.65        75
Reuters                                           *          63          0.78          2.62        84
The Washington Post                                         182          0.95          7.58       102
USAToday.com                                                219          0.87          9.14        93
WSJ.com                                                     122          0.56          5.10        60
Yahoo! News                                                 203          0.97          8.48       104
Internet: Websites Visited Or Apps Used In The            1,912          0.97         79.79       104
Last 30 Days: Shopping: Amazon
Coupons                                           *             35       0.79          1.45        84
eBay                                                           459       0.97         19.17       104
Groupon                                                        118       0.98          4.91       105
LivingSocial                                      *              2       0.23          0.09        24
Internet: Websites Visited Or Apps Used In The    *             34       0.92          1.42        99
Last 30 Days: Socializing/Dating: Bumble
Eharmony                                          *              7       0.84          0.31        90
Match                                             *             19       1.18          0.81       126
Plenty of Fish                                    *             21       1.15          0.86       123
Tinder                                            *             30       0.59          1.24        63
Internet: Websites Visited Or Apps Used In The    *             28       0.32          1.15        34
Last 30 Days: Spanish Language: Telemundo.com

Univision.com or Univision NOW                    *             25       0.31          1.04        33
Any Spanish Language Website/App [26]             *             48       0.33          2.02        35
Internet: Websites Visited Or Apps Used In The    *             59       0.81          2.46        87
Last 30 Days: Sports: BleacherReport.com or B-R

CBSSports                                         *            109       1.04          4.56       112
ESPN                                                           360       0.82         15.02        88
FOX Sports                                        *            139       0.84          5.80        90


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Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
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                                                       Weighted         %          %
                                                        (000)                                  Index
                                                                     Coverage   Composition
MLB                                               *            111       0.94          4.65       101
NASCAR                                            *             73       1.75          3.06       187
NBA                                               *             71       0.73          2.97        78
NBCSports.com                                     *             38       0.82          1.57        88
NFL.com or NFL                                                 136       0.76          5.67        82
WWE                                               *             49       1.39          2.04       148
Yahoo! Sports                                     *             38       0.48          1.58        52
Internet: Websites Visited Or Apps Used In The    *             82       0.78          3.41        83
Last 30 Days: Technology: CNET
Internet: Websites Visited Or Apps Used In The                 332       1.04         13.87       112
Last 30 Days: Travel/Maps: Airbnb
Bing Maps                                         *          17          0.66          0.69        71
CheapTickets                                      *          61          0.91          2.55        97
Expedia                                                     271          1.06         11.30       114
Google Maps                                               1,114          0.97         46.50       104
Hotels.com                                                  153          0.99          6.38       106
Hotwire                                           *          42          1.45          1.73       156
Lyft                                              *          88          0.72          3.69        77
MapQuest                                                    206          1.35          8.58       144
Orbitz                                            *          30          0.98          1.25       105
Priceline                                         *         106          1.12          4.41       120
Travelocity                                       *          70          0.87          2.90        93
TripAdvisor                                       *         106          0.73          4.40        79
Uber                                                        157          0.65          6.55        70
Waze                                                        270          1.05         11.25       113
Internet: Websites Visited Or Apps Used In The              585          1.02         24.43       109
Last 30 Days: Weather: AccuWeather
The Weather Channel (weather.com)                         1,014          1.01         42.31       108
WeatherBug                                        *         121          1.01          5.05       108
Weather Underground (wunderground.com)            *          97          1.05          4.06       113
Internet: Websites/Search Engines: Used In Last   *         126          1.59          5.24       171
30 Days: AOL/AOL.com
Ask.com                                           *           7          1.01          0.30       108
Bing.com                                                    168          0.76          7.00        81
DuckDuckGo                                                  161          0.82          6.73        88
Google.com                                                1,988          0.92         82.97        98
Yahoo.com                                                   404          0.99         16.84       106



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Digital Media, Websites and Social Media Usage-Used Effexor/Effexor XR
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                                                      Weighted         %          %
                                                       (000)                                  Index
                                                                    Coverage   Composition
Internet: Where Looked/Used in last 30 days: At           2,232         0.94         93.12       101
home
At work                                                       920       0.84         38.38        90
At school or library                                          200       0.81          8.36        86
Another place                                                 942       0.93         39.32       100

[25] Estimates for CNN en Espanol were modeled in Wave 87.
[26] Variable includes modeled data in Wave 87.
* Projections relatively unstable, use with caution
Since W82 on, mag aud ests tabbed w/ probabilities, ratio-adjust to recent read for Tot, M & F AIA.
Prior ests use recent-readng only.
Source: 2024 MRI-Simmons Spring Doublebase USA weighted to Population (000) - Base: All
No Audit Report Was Generated




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